                            UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NEW MEXICO


In Re:

MARIE J. HOLGUIN,
                                    Debtor.                                 No. 15-11410 J7


MARIE J. HOLGUIN,
                                    Plaintiff,

v.                                                                          Adv. No. 18-01042 j

NATIONAL COLLEGIATE STUDENT LOAN
TRUST 2006-2, A DELAWARE STATUTORY
TRUST,
                      Defendant.

     RESPONSE TO SECOND AMENDED MOTION FOR SUMMARY JUDGMENT

       Marie J. Holguin (hereinafter referred to as “Plaintiff” or “Debtor”) by and through the

undersigned counsel, files this Response 1 to National Collegiate Student Loan Trust 2006-2’s

(hereinafter referred to as “NCSLT”) Second Amended Motion for Summary Judgment

(docket #31) (hereinafter referred to as “MSJ”) as follows:

                                            INTRODUCTION

       The issue to be dealt with by the Court concerns the proper construction of 11 U.S.C.

§523(a)(8)(A)(i). This section excludes from discharge a loan that is “made, insured or

guaranteed by a governmental unit, or made under any program funded in whole or in part by a

governmental unit or nonprofit institution.” The subsection essentially renders two types of

educational debts nondischargeable: (1) any loan “touched” by a governmental unit; and (2) an

educational loan made under any program funded by the government or a nonprofit institution.


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        The response is timely due to the order entered by the Court on August 23, 2019 (docket #33) which
       allows Plaintiff until August 26, 2019 to file her response.


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In its MSJ, NCSLT argues that the debt at issue here falls under the second type of educational

debt and thus is nondischargeable. The second type of educational loan requires four elements

for the loan discharge exception at issue: (1) an educational loan must be made; (2) under a

program; (3) funded; (4) by a nonprofit institution.

             STATEMENT OF DISPUTED/UNDISPUTED MATERIAL FACTS

      NCSLT relies on the affidavit from Bradley Luke, the Director of Operations for

Transworld Systems, Inc. Debtor does not object that Mr. Luke may be used to authenticate

the business records to which he alludes; however, Debtor objects to any assertion of fact made

by Mr. Luke on the basis that he does not have any personal knowledge as to the transactions at

issue, and thus these factual assertions would be inadmissible into evidence. Specifically,

Plaintiff objects to Paragraph 36 of Mr. Luke’s affidavit on the basis that it is conclusory. Mr.

Luke states that after a diligent search he cannot find any records to support his statement that

“TERI did indeed purchase loans from GMAC Bank Undergraduate Loan Program.” Since the

statement is conclusory and unsupported after a diligent search, Defendant requests the

Paragraph be stricken. Further objections will be noted below.

      Further, Defendant’s exhibits were neither marked with exhibit letters, nor were the pages

numbered which made the process of referring to supporting statements time consuming and

difficult.

      1.      Undisputed.

      2.      Undisputed.

      3.      Undisputed.

      4.      Disputed. The document referenced as Exhibit B was entered into between The

Education Resources Institute, Inc. (hereinafter referred to as “TERI”) and GMAC Bank on




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May 30, 2003 (alleged “Guaranty Agreement”). The document is offered for the purpose of

establishing that TERI guaranteed the loan and loan program offered by GMAC for the loan at

issue. The Guaranty Agreement is conditioned upon several factors. Exhibit B. Section 2.2.

     Further,

… (redacted)

     The Guaranty Agreement requires that the school the Debtor is attending be a “TERI-

approved school.” There is nothing in the record that establishes that New Mexico State

University was a TERI-approved school. Exhibit B, Page 26.

     Section 3.3(a) requires that at the time the loan was made for the Guaranty to be

effective, GMAC was required to pay a “guaranty fee.” There is no evidence that this fee was

paid on this loan transaction. Exhibit B, Page 31.

     Again, the Court can only infer that the initial term of the Guaranty Agreement was

extended beyond the initial term, that New Mexico State University was a TERI-approved

school, and that a guarantee fee was paid on this transaction. This requires the Court to jump

to the conclusion that the loan was part of a program guaranteed by TERI or that the loan itself

was guaranteed by TERI. For purposes of Summary Judgment, all reasonable inferences must

be made in favor of the non-moving party. Foster v. Johns-Manville Sales Corp., 787 F.2d

390, 391-92 (8th Cir. 1986).

     5.      Undisputed.

     6.      Undisputed.

     7.      Undisputed.

     8.      Undisputed. The document states this language.

     9.      Undisputed.




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     10.     Undisputed. The document states this language.

     11.     Undisputed. The document states this language.

     12.     Undisputed.

     13.     Plaintiff disputes as stated above in Paragraph 4 that TERI guaranteed this loan

transaction and that the loan transaction was part of a loan program. Plaintiff objects to the

conclusory statement made by Mr. Luke in his affidavit (Paragraph 22) on the basis that he

does not have personal knowledge of the assertion. Plaintiff further disputes the statement on

the basis that Exhibit B clearly states that the alleged guarantee is a conditional guarantee and

not a guarantee of “any Program loan...” Exhibit B, Section 3.3., Pages 6-7.

     14.     Plaintiff disputes as stated above in Paragraph 4 that TERI guaranteed this loan

transaction and the loan program funding this loan. Plaintiff objects to the conclusory

statement made by Mr. Luke in his affidavit (Paragraph 20) on the basis that he does not have

personal knowledge of the assertion.

     15.     Plaintiff disputes as stated above in Paragraph 4 that the Guarantee Agreement

applies to this loan and any program under which this loan was made. Plaintiff objects to the

conclusory statement made by Mr. Luke in his affidavit (Paragraph 24) on the basis that he

does not have personal knowledge of the assertion.

     16.     Plaintiff disputes as stated above in Paragraph 4 that the Guarantee Agreement

applies to this loan and any program under which this loan was made. Plaintiff objects to the

conclusory statement made by Mr. Luke in his affidavit (Paragraph 25) on the basis that he

does not have personal knowledge of the assertion.

     17.     Disputed. Plaintiff objects to the conclusory statement made by Mr. Luke in his

affidavit (Paragraph 27) on the basis that he does not have personal knowledge of the assertion.




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Defendant relies on Ex. C, p. 89 in support of this fact. There is no page 89 to Exhibit C. Mr.

Luke refers to Exhibit C, Page 6. Exhibit C is the 2006-2 Pool Supplement GMAC Bank

document. In Article 1 of the document, it refers to an attached Schedule 1. Schedule 1 is

supposed to identify all the loans that were to be a part of the “Transferred GMAC Bank

Loans”; however, Schedule 1 is not attached to Exhibit C. Instead, the Defendant has

generated a document and attached it to Exhibit C. The generated document is not referred to

in Exhibit C. Plaintiff objects to Exhibit C on the basis that it is an altered document.

      Further, in its Answers to Discovery Requests (Exhibit 1 attached), Defendant produced

similar documents to those attached as exhibits to its MSJ. The glaring difference is that the

generated document referred to above was not attached to the document identified as Exhibit C

(Exhibit 1, Pages 9-13). Rather it was produced after the document referred to as Exhibit D

(Exhibit 1, Page 15-28). This clearly shows that the generated document is just that – a

document generated and meant to mislead the court into believing that the loan at issue was a

loan securitized and transferred to the 2006-2 trust. Without the Schedule 1 that was supposed

to be attached Schedule C, Defendant has failed to properly establish the chain of title proving

its ownership on the loan at issue.

      18.     Disputed. Mr. Luke refers to Exhibit C, Page 6. Exhibit C is the 2006-2 Pool

Supplement GMAC Bank document. In Article 1 of the document, it refers to an attached

Schedule 1. Schedule 1 is supposed to identify all the loans that were to be a part of the

“Transferred GMAC Bank Loans”; however, Schedule 1 is not attached to Exhibit C. Instead,

the Defendant has generated a document and attached it to Exhibit C. The generated document

is not referred to in Exhibit C. Plaintiff objects to Exhibit C on the basis that it is an altered

document.




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     19, 20, 21, 22, 23, 24, 25, 26, 27, 28, 29, 30. These Paragraphs are Disputed on the same

basis as mentioned in Paragraph 18 above. Without the Schedule 1 that was supposed to be

attached Schedule C, Defendant has failed to properly establish the chain of title proving its

ownership on the loan at issue.

     31.     Disputed. Plaintiff’s bank account was garnished on March 29, 2018 in the

amount of $2,548.82. Complaint. Page 4, Paragraph 26 (docket #1).

     32.     Undisputed.

     33.     Plaintiff disputes as stated above that TERI guaranteed this loan transaction and

that the loan transaction was part of a loan program.

     34.     Plaintiff disputes as stated above that TERI guaranteed this loan transaction and

that the loan transaction was part of a loan program.

           STATEMENT OF ADDITIONAL UNDISPUTED MATERIAL FACTS

     Plaintiff requests that the Court take judicial notice of the following bankruptcy court

proceedings and docket:

     35.     The nonprofit company, The Education Resources Institute, Inc. (hereinafter

referred to as “TERI”), which allegedly guaranteed loans originated and made by GMAC

Bank, filed for Chapter 11 bankruptcy protection on April 7, 2008 in the United States

Bankruptcy Court, District of Massachusetts, Case No. 08-12540 (Docket #1).

     36.     Defendant was a creditor in the proceeding and was specifically classified as a

secured creditor and provided for in TERI’s Fourth Plan of Reorganization. Case 08-12540

(Docket #1104, Schedule B shows Defendant as a Class 3h creditor).




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     37.     In short, and among many other things, TERI’s plan provided a settlement of all

National Collegiate Trust claims which included the rejection of any Guaranty Agreements as

of the Effective Date of the plan. (Docket #1104, Page 40, Section 6.2(c)(x)).

     38.     TERI’s plan was confirmed on or about October 29, 2010 (Docket #1170). While

somewhat unclear, the Effective Date would have been November 14, 2010 (a date where no

stay of the Confirmation Order is in effect).

     39.     Plaintiff did not default on her loan until at least October 10, 2011 (Statement of

Fact #31 (disputed on the basis that further payment was made towards the debt through

garnishment in 2018).

     40.     Plaintiff’s default occurred at a time after TERI’s plan was confirmed which

rejected any further Guarantee Agreement – meaning Plaintiff’s debt to GMAC was no longer

guaranteed by TERI.

     41.     Plaintiff filed her Chapter 7 bankruptcy on May 29, 2015. Complaint, Page 2,

Paragraph 7.)

     42.     Plaintiff received her discharge on October 5, 2015. Complaint, Page 2,

Paragraph 11. Case No. 15-11410, docket #14.

     43.     On June 27, 2019, the Court specifically requested evidence showing that TERI

paid out on any guarantee on any student loan made under the alleged GMAC Bank loan

program. Counsel for Defendant indicated that she could “get evidence” to that effect.

     44.     Despite the request from the Court since June 27, 2019, the Defendant has failed

to provide the Court with evidence showing that this loan and/or any other loans made by

GMAC Bank under the loan program was ever funded by TERI. The only evidence offered is

a conclusory statement from a records custodian indicating that he has personal knowledge to




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the effect but after a diligent search could not find any supporting documentation. Affidavit of

Luke, Paragraph 36.

                                    LEGAL ARGUMENTS

A.     Material Facts in Dispute/Rule 56 standard not met. Debtor submits, as outlined

above, that there are still material facts that are in dispute. Material questions of fact remain in

regard to 1) whether the Guaranty Agreement terminated pursuant to the termination terms of

the Guaranty Agreement (Statement of Facts and Responses, Paragraph #4) prior to the time

the loan in question was made to the Plaintiff; 2) whether Defendant is the actual holder/owner

of the loan in question (Statement of Facts and Responses, Paragraphs 17-30); and whether

TERI ever paid out on any of the loans made by GMAC Bank (Additional Statement of Facts,

Paragraphs 43 and 44). The evidence presented requires the Court to make inferences. For

purposes of Summary Judgment, all reasonable inferences must be made in favor of the non-

moving party. Foster v. Johns-Manville Sales Corp., 787 F.2d 390, 391-92 (8th Cir. 1986).

Because Defendant has failed to meet the standard required pursuant to Rule 56, Debtor

requests that the Motion be denied.

B.     Burden of Proof. In a student loan dischargeability dispute, "the lender has the initial

burden to establish the existence of the debt and that the debt is an educational loan within the

statute's parameters[;] [t]he burden then shifts to the debtor, to prove [undue hardship]." Roth

v. Educ. Credit Mgt. Corp. (In re Roth), 490 B.R. 908, 916-917 (9th Cir. BAP 2013) (emphasis

added, citations omitted). The Defendant has failed to meet its burden as established below.

C.     Even Assuming Defendant Meets its Burden on all of the Above, TERI did not Fund

the Loan Program as required, nor did it ever pay or fund the guarantee.




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      Upon parsing the language of §523(a)(8)(A)(i), the language indicates that it is sufficient

for a governmental unit to guarantee an educational loan to render it non-dischargeable.

However, it does not say it is sufficient for a non-profit to merely guarantee a loan. The

language is clear in that Congress did not intend a mere nonprofit guarantee to be sufficient for

nondischargeable purposes. The loan must have been made under a program funded in whole

or part by a non-profit. This argument rests upon the commonly accepted canon of statutory

analysis stating,

      [W]here Congress includes particular language in one section of a statute but omits it in
      another section of the same Act, it is generally presumed that Congress acts intentionally
      and purposely in the disparate inclusion or exclusion. Rodriguez v. U.S., 107 S.Ct. 1391,
      1393, 480 U.S. 522, 525 (1987); Wichita Crt. For Graduate Med. Educ. V. United States,
      917 F.3d 1221, 1226 (10th Cir. 2019).

      The above interpretation is also consistent with the Congressional intent that exceptions

to discharge be narrowly construed against the creditor and liberally in favor of the debtor in

order to provide the debtor with the comprehensive relief from the burden of his indebtedness.

Gullickson v. Brown, 108 F.3d 1290 (10th Cir. 1997)(We are cognizant in our review of the

requirement that the Bankruptcy Code must be construed liberally in favor of the debtor and

strictly against the creditor); In re Olson, 454 B.R. 466, 472 (Bankr.W.D.Mo. 2011). The

principal has been applied to student loan exceptions to discharge. In re Johnson, 215 B.R.

750, 753 (Bankr.E.D.MO. 1997), aff’d, 218 B.R. 449 (8th Cir.BAP 1998) (applying, in the

context of student loan debt, the well-established principal that exceptions to discharge are to

be narrowly construed).

      In Golden v. JP Morgan Chase Bank, 596 B.R. 239 (Bankr. E.D. N.Y. 2019), the Court

provided an analysis on §523(A)(8)(a)(i). The Golden court denied the Defendant’s motion to

dismiss based on the standard that the pleaded facts must be accepted as true. However, just as




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in this case, the Defendant in Golden primarily relied on the case of In re O’Brien, 419 F.3d

104 (2nd Cir. 2005) to support its position that the term “funded” should be read expansively to

include a guaranty. The Golden court, however, distinguished O’Brien on the basis that “the

Second Circuit’s conclusion was based on the ‘undisputed’ and ‘uncontested’ fact, as noted by

the district court, that the loan at issue was made by a program funded at least in part by TERI,

and the loan at issue was exempt from discharge….” Golden at 266. Of course, in this case,

this fact is hotly contested.

      The O’Brien court found that since the loan program had been actually funded at least in

part by TERI, that the loan was exempt from discharge. Another distinguishing characteristic

was that in O’Brien, TERI paid on the its guarantee when the Debtor defaulted. In this case,

TERI did not have anything to do with the actual funding of GMAC’s loan program. In this

case, it is only alleged that TERI guaranteed the loan program. No allegation has been made

that TERI funded the GMAC loan program. No allegation has been made that TERI actually

paid on its guarantee. In fact, TERI filed for bankruptcy relief before the Plaintiff defaulted

and the guarantee agreement on this loan was deemed terminated. This case is distinguishable

from O’Brien and other decisions following O’Brien’s rationale on these two very factual

differences.

      In Page v. JP Morgan Chase Bank (In re Page), 592 B.R. 334, 339 (8th Cir. BAP 2018),

the BAP overruled the bankruptcy court’s finding that TERI funded a loan because the court’s

“inference in NST’s favor that TERI ‘funded’ the loan program was not reasonable as it was

not supported by the evidence.” The standard applied to determine whether TERI “funded” a

loan as required by the statute required the court to determine whether TERI played any

“meaningful part” in the procurement of the loans under the program. Id. at 337. The court




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stated, “The cases applying the so-called ‘meaningful part’ test hinge on whether the non-profit

entity committed financial resources to the loan program, or contributed something of value to

make the program successful.” In this case, other than an alleged agreement to guaranty loans,

no evidence has been presented to the Court that TERI played any meaningful role in GMAC’s

loan program.

     Defendant also argues that the Court may “look to the loan document itself” to find the

loan nondischargeable. This argument has been struck down in Golden and other cited cases.

The Golden court stated, “In addition, more is required to satisfy the requirements of Section

523(a)(8) than a statement in a loan document that ‘either or both’ of certain exceptions from

discharge may apply. If that language alone were sufficient, then it hard to see what role

would be left for Congress or the courts in drafting, interpreting,, and applying these sections

of the Bankruptcy Code.” Golden at 267; See also, In re Clouser, Memorandum Opinon, Case

No. 11-33104, Page 5 (Bankr. Or. 2016)(Because there is no suggestion in the record that

Debtor ever had personal knowledge of the existence or terms of a third-party guaranty, the

boilerplate language of the Loan Documents cannot prove the actual existence of a guaranty);

Wiley v. Wells Fargo Bank, N.A. (In re Wiling), 579 B.R. 1, 7 (Bankr.Me. 2017)(These

preprinted portions of the Agreements do not mandate an inference that the Loans were, in fact,

made under a program funded by a nonprofit institution).

     Finally, there is something inherently wrong and disingenuous with Defendant’s

argument when it knows that the guaranty on this loan was terminated in TERI’s bankruptcy.

If the Court does find that TERI’s participation was sufficient when the loan was made, it

should apply 11 U.S.C. §105(a) to prevent Defendant’s abuse of the process. At the time of the

Plainitff’s bankruptcy, there was no guaranty in place as it had been terminated in TERI’s




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bankruptcy. This change of circumstance should prohibit Defendant from now arguing that the

loan guaranty prohibits Plaintiff from discharging the debt. Section 105(a) give the Court

broad authority to prevent abuses of the bankruptcy process. Marrama v. Citizens Bank of

Massachusetts, 127 S.Ct. 1105, 166 L.Ed.2d 956 (2007).

                                       CONCLUSION

     WHEREFORE, Plaintiff respectfully requests that this Court deny the Motion Summary

Judgement and for any further relief deemed necessary by the Court.

                                           /s/ Electronically filed 5.31.19
                                           R. “Trey” Arvizu, III
                                           Attorney for Plaintiff
                                           PO Box 1479
                                           Las Cruces, NM 88004
                                           (575)527-8600
                                           (575)527-1199 fax
                                           trey@arvizulaw.com

                                       CERTIFICATE OF SERVICE

     I CERTIFY that the foregoing was electronically filed with the Court via the CM/ECF
     system. All attorneys and parties identified with the Court for electronic service on the
     record in this case were served by electronic service in accordance with the CM/ECF
     system on this 31st day of May, 2019.

     Electronically filed
     R. “Trey” Arvizu, III




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                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF NEW MEXICO

In Re: Marie J. Holguin                                    Case No. 15-11410 J7

                                                           Chapter 7

                      Debtor,                              Hon. Robert H. Jacobvitz

______________________________________________________________________________
 Marie J. Holguin,

                                                           Adv. No. 18-01042-j
                      Plaintiff,

v.
National Collegiate Student Loan Trust 2006-2,
A Delaware Statutory Trust

                      Defendant.

  DEFENDANT’S OBJECTIONS AND RESPONSES TO HOLGUIN’S FIRST SET OF
                       INTERROGATORIES


                                      INTERROGATORIES

        Interrogatory No. 1: Identify by name, address, telephone number, title and position,
every individual who has provided information for, or otherwise assisted with answering, these
interrogatories.

       Answer:

         Bradley Luke, Director of Operations for Transworld Systems Inc., subservicer for
Defendant with assistance from counsel, Monette W. Cope, Attorney for NCSLT, 180 N. LaSalle
St., Ste. 2400, Chicago, IL 60657, 312-782-9676

        Interrogatory No. 2: Identify each and every person who has personal knowledge of the
events surrounding the Student Loan Agreement and any and all collection attempts.

       Answer:

Defendant objects to this Interrogatory on the grounds that “events surrounding the Student Loan
Agreement” is overly broad, not reasonably calculated to lead to the discovery of admissible
evidence, and not reasonably limited in temporal scope. Defendant objects to this Interrogatory
to the extent that it purports to require the disclosure of information that is not within


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Defendant’s possession, custody, or control. Defendant objects to the request for “all collection
attempts” as it is irrelevant to the matters raised in the complaint and is not likely to lead to
admissible evidence.

Without waiving the objections, Bradley Luke, Director of Operations at Transworld Systems
Inc., 2 Sun Court, Suite 215, Peachtree Corners, GA 30092. May be reached through Monette
W. Cope at telephone number in response to No. 1.



         Interrogatory No. 3 - Trial Witnesses: Other than expert witnesses, identify by name,
address, home and work telephone numbers, title and position, every person who NCSLT may
call to testify as a witness on its behalf in this preceding and for each individual provide a
summary of his or her anticipated testimony.

       Answer:

Objection to providing personal information about NCSLT’s witnesses. Without waiving the
objection, Bradley Luke, Director of Operations at Transworld Systems Inc., 2 Sun Court,
Suite 215, Peachtree Corners, GA 30092. May be reached through Monette W. Cope at
telephone number in response to No. 1.

Debtor, as upon cross-examination.
Any of Debtor’s witnesses, as upon cross-examination.


Defendant reserves the right to supplement its response in accordance and compliance with the
Federal Bankruptcy Rules, Federal Rules of Evidence, the Scheduling Order entered in this
case, and any other applicable law or order.


       Interrogatory No. 4 – Witnesses: Other than expert witnesses, identify by name, address,
telephone number, title and position, every person who NCSLT has not identified as a potential
witness in the preceding interrogatory, but who may have knowledge relevant to the Student
Loan Agreement. For each person identified provide a summary of the information which
Debtor believes is known and relevant to the Student Loan Agreement.

       Answer:

        Defendant objects to this Interrogatory on the grounds that it is overly broad, not
reasonably calculated to lead to the discovery of admissible evidence, and not reasonably limited
in temporal scope. Defendant objects to this Interrogatory to the extent that it purports to require
the disclosure of information that is not within Defendant’s possession, custody, or control.

       NCSLT is without information as to what debtor believes is known and relevant to the
Student Loan Agreement.


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      Interrogatory No. 5: Identify the Rule 30(B)(6) designated representative of the NCSLT
who will testify on its behalf regarding the Student Loan Agreement.

       Answer:

       Bradley Luke, Director of Operations at Transworld Systems, Inc., 2 Sun Court, Suite
215, Peachtree Corners, GA 30092. May be reached through Monette W. Cope at telephone
number in response to No. 1.

        Interrogatory No. 6 - Exhibits: List and provide each document which Debtor may offer
into evidence, relevant to the Student Loan Agreement, and include for each document the title,
date, author of the document, and identify all recipients of every responsive document. For each
document listed explain the reason the NCSLT asserts each such exhibit or document is relevant.


       Answer:


        Defendant objects to this Interrogatory to the extent that the “recipients” of documents
are not within Defendant’s knowledge, possession, custody, or control.
        Subject to and without waiving the foregoing objection, Defendant refers to the initial
disclosures and the documents produced contemporaneously with this response. Defendant will
supplement its initial disclosures under Fed.R.Civ.P. 26(a)(1)(iii) when and to the extent required
under Rule 26(e) and will make exhibit disclosures when required under Rule 26(a)(3)(A)(iii) or
any applicable order.


         Interrogatory No. 7 - Experts: Identify each expert witness who NCSLT may call upon to
testify in this contested proceeding, and for each expert describe:

       a)      The name, address and business/work telephone numbers;

       b)      That person’s area of expertise and qualifications as they relate to issues herein;

       c)      The subject matter on which each person identified as an expert is expected to
               testify;

       d)      All opinions held by each person identified as an expert, and relevant to this
               proceeding;
       e)      The basis for all opinions held by each person identified as an expert, and relevant
               to this contested proceeding;

       f)      A list of all books, treaties, articles, publications, web sites or other written works
               which the person identified as an expert has either authored or co-authored; and



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       g)      A list of all books, treaties, articles, publications, web sites or other written
               sources which each person identified as an expert regards as authoritative on the
               subject matter for which the person will be testifying in this contested proceeding.


       Answer:

       At this time, NCSLT does not anticipate calling any expert witnesses, but will
supplement this answer when and to the extent required under Rule 26(e) and will make exhibit
disclosures when required under Rule 26(a)(3)(A)(iii) or any applicable pre-trial order.

       Interrogatory No. 8: Please provide an accounting of any and all funds received directly
from the Plaintiff dating back to the inception of the loan.


       Answer:

        Defendant objects to this Interrogatory in that the phrase “all funds received directly from
the Plaintiff” is unclear.

Without waiving the objection, see the Loan Financial Activity produced herewith.

        Interrogatory No. 9: Please identify all New Mexico cases in which NCSLT has
collected proceeds on an alleged student loan following a bankruptcy discharge of the obligor.


       Answer:

        Defendant objects to this Interrogatory on the grounds that it is overly broad, not
reasonably calculated to lead to the discovery of admissible evidence, and not reasonably limited
in temporal scope. Defendant objects to this Interrogatory to the extent that it purports to require
the disclosure of information that is not within Defendant’s possession, custody, or control.
Defendant objects to the request as it is wholly irrelevant to the matters raised in the complaint
and is not likely to lead to admissible evidence.


       Interrogatory No. 10: In the state court lawsuit against Plaintiff, Jonathan Boyd, Firm
Relationship Analyst signed an affidavit on June 17, 2014 verifying the account. Is all the
information Mr. Boyd provided in his affidavit true and correct? If not, please provide a detailed
explanation as to what was incorrect and why it was incorrect.


       Answer:

      Defendant objects to the request as it is wholly irrelevant to the matters raised in the
complaint and is not likely to lead to admissible evidence.


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        Interrogatory No. 11: Was this account audited as required in relation to the Consent
Order entered into between the Consumer Financial Protection Bureau and Transworld Systems,
Inc. on September 18, 2017? If so, please provide all documentation and support in relation to
the audit. If no, please state in detail the reasons this account was not audited as required. (See
Consent Order identified as Exhibit A – Pages 109-140 in Plaintiff’s discovery responses).

       Answer:

       Defendant objects to the request as it is wholly irrelevant to the matters raised in the
complaint and is not likely to lead to admissible evidence. Defendant objects to this request
because Debtor has no standing to investigate or enforce the Consent Order between Transworld
Systems, Inc. and the CFPB. Defendant objects to this request because the state court law suit
was not initiated within the Consent Order’s applicable time period and so it is not subject to the
Consent Order.


DATED February 8, 2019

                                              Respectfully Submitted,

                                              ROSE L. BRAND & ASSOCIATES, P.C.

                                           By /s/Andrew P. Yarrington
                                             ANDREW YARRINGTON
                                             Attorney for National Collegiate Student
                                             Loan Trust 2006-2
                                             7430 Washington Street, NE
                                             Albuquerque, NM 87109
                                             Telephone: (505) 833-3036
                                             Andrew.Yarrington@roselbrand.com




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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF NEW MEXICO

In Re: Marie J. Holguin                                     Case No. 15-11410 J7

                                                            Chapter 7

                      Debtor,                               Hon. Robert H. Jacobvitz

______________________________________________________________________________
 Marie J. Holguin,

                                                            Adv. No. 18-01042-j
                      Plaintiff,

v.
National Collegiate Student Loan Trust 2006-2,
A Delaware Statutory Trust

                      Defendant.

  DEFENDANT’S OBJECTIONS AND RESPONSES TO HOLGUIN’S REQUEST FOR
                     PRODUCTION OF RECORDS



REQUEST FOR PRODUCTION OF DOCUMENTS NO. 1: All documents that you may have

referred to in Answering the Interrogatories.

RESPONSE:

Defendant objects to producing the Consent Order between Transworld Systems Inc. and the
CFPB as this is already in the possession of the debtor. Without waiving this objection, no other
documents.


REQUEST FOR PRODUCTION OF DOCUMENTS NO. 2: Produce all documents in your

possession relating to any and all business dealings between Plaintiff and NCSLT.



RESPONSE:

Defendant objects to the term “all” as used in this request as overly broad and unduly

                                                1
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burdensome. Defendant has made a good faith, reasonable, and diligent effort to locate
responsive information. Defendant further objects to this request as the term “business dealings”
is undefined. Without waiving the objection, see documents produced herewith.


REQUEST FOR PRODUCTION OF DOCUMENTS NO. 3: All exhibits you intend to use at

trial.

RESPONSE:

Defendant refers to the initial disclosures and the documents produced contemporaneously
with this response. Defendant will supplement its initial disclosures under Fed.R.Civ.P.
26(a)(1)(iii) when and to the extent required under Rule 26(e) and will make exhibit
disclosures when required under Rule 26(a)(3)(A)(iii) or any applicable order.


REQUEST FOR PRODUCTION OF DOCUMENTS NO. 4: All copies of reports and

documents utilized by an expert which you propose to call at trial.

RESPONSE:

At this time, NCSLT does not anticipate calling any expert witnesses, but will supplement this
answer when and to the extent required under Rule 26(e) and will make exhibit disclosures when
required under Rule 26(a)(3)(A)(iii) or any applicable pre-trial order.


REQUEST FOR PRODUCTION OF DOCUMENTS NO. 5: All documents in your possession

relating to the Student Loan Agreement.

RESPONSE:

Defendant objects to the term “all” as used in this request as overly broad and unduly
burdensome. Defendant has made a good faith, reasonable, and diligent effort to locate
responsive information. In searching for information, Defendant conducted a thorough and
reasonable search for records kept by Defendant in the ordinary course where such information
is most likely to be found. Without waiving the objection, see all documents produced
herewith.


REQUEST FOR PRODUCTION OF DOCUMENTS NO. 6: Any and all documents relating to

the chain of title from inception of the Student Loan Agreement between Plaintiff and GMAC

                                                2
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Bank including but not limited to all assignments, Note Purchase Agreements, Deposit and Sale

Agreements with all schedules and exhibits between GMAC Bank, NCSLT and any and all third

parties.

RESPONSE: Defendant objects to producing the entire exhibit to the Deposit and Sale
Agreement as it lists the names and nonpublic information of all borrowers of all the loans
covered by the Agreement. Without waiving the objection, Defendant produces the Pool
Supplement and Deposit and Sale Agreement and exhibit thereto.

REQUEST FOR PRODUCTION OF DOCUMENTS NO. 7: Please produce an accounting of

amounts collected from cases identified in Interrogatory No. 9.

RESPONSE:

Defendant objects to the Request as it is wholly irrelevant to the subject matter of the complaint
and is not reasonably calculated to lead to the discovery of admissible evidence.




DATED February 8, 2019

                                              Respectfully Submitted,

                                              ROSE L. BRAND & ASSOCIATES, P.C.

                                           By /s/Andrew P. Yarrington
                                             ANDREW YARRINGTON
                                             Attorney for National Collegiate Student
                                             Loan Trust 2006-2
                                             7430 Washington Street, NE
                                             Albuquerque, NM 87109
                                             Telephone: (505) 833-3036
                                             Andrew.Yarrington@roselbrand.com




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  ITS31*****8657;                    AES/PA          VTAM NAEN                  TSX31
DATE 07/20/18 17:00:05 DEFERMENT/FORBEARANCE LOAN DETAIL


BORROWER SSN: ***-**-8657 NAME: MARIE J GOMEZ
1ST DISB DATE: 08/02/05   OWNER: NCT                              LOAN PGM: ALPLN
LOAN SEQ: 001         GUARANTOR: TERI



                                                                        TOTL
                      BEGIN       END     GRACE   CAP    DAYS DAYS      MOS       CERT
     DEFER/FORB TYP   DATE        DATE   END DATE IND    USED LEFT      USED      DATE
 _   F - ADMINISTRV 04 02 10    04 30 10           Y       29 UNL        1.0    04 30 10
 _   F - GEN/TEMP   06 01 08    11 30 08           Y      183   154      6.9    08 21 08
 _   F - GEN/TEMP   02 01 07    02 28 07           Y       28   154      6.9    02 10 07
 _   F - BANKRUPTCY 04 10 06    11 08 06           Y      213 UNL        7.0    11 13 06
 _                  __ __ __    __ __ __           _
 _                  __ __ __    __ __ __           _
 _                  __ __ __    __ __ __           _




F1=HELP   F3=EXIT   F5=RFR   F6=ELG   F7=BKWD   F8=FWD   F9=PRT    F10=HIST    F12=CAN




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                                                                               Execution Copy



                       DEPOSIT AND SALE AGREEMENT
             THE NATIONAL COLLEGIATE STUDENT LOAN TRUST 2006-2

       This DEPOSIT AND SALE AGREEMENT (the "Sale Agreement"), dated as of June 8,
2006, between The National Collegiate Funding LLC, in its capacity as seller (in such capacity,
the "Seller"), and The National Collegiate Student Loan Trust 2006-2, as purchaser (the
"Purchaser"), shall be effective upon execution by the parties hereto.

        WHEREAS, the Seller is the owner of certain student loans; and

        WHEREAS, the Seller desires to sell its interest in such student loans and the Purchaser
desires to purchase such loans from the Seller.

        NOW, THEREFORE, in connection with the mutual promises contained herein, the
parties hereto agree as follows:

                                         ARTICLE I
                                          TERMS

        This Sale Agreement sets forth the terms under which the Seller is selling and the
Purchaser is purchasing the student loans listed on Schedule 2 to each of the Pool Supplements
set forth on Schedule A attached hereto (the "Transferred Student Loans").

                                        ARTICLE II
                                       DEFINITIONS

        Capitalized terms used but not otherwise defined herein shall have the definitions set
forth in Appendix A of the Indenture dated as of June 1, 2006 between U.S. Bank National
Association (the "Indenture Trustee") and the Purchaser.

                                      ARTICLE III
                                  SALE AND PURCHASE

       Section 3.01. Sale of Loans. The Seller hereby sells and the Purchaser hereby purchases
the Transferred Student Loans.

       Section 3.02. Assignment of Rights. The Seller hereby assigns to the Purchaser and the
Purchaser hereby accepts all of the Seller's rights and interests under each of the Pool
Supplements listed on Schedule A attached hereto and the related Student Loan Purchase
Agreements listed on Schedule B attached hereto.

       Section 3.03. Settlement of the Payment. The Purchaser shall pay the Seller the
purchase price set forth in Schedule 1 of each of the Pool Supplements by wire transfer in
immediately available funds to the account specified by the Seller.


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        Section 3.04. Assistance by Seller. Following the execution of this Sale Agreement, the
Seller shall provide any reasonable assistance requested by the Purchaser in determining that all
required documentation on the Transferred Student Loans is present and correct.

                              ARTICLE IV
          REPRESENTATIONS, WARRANTIES AND COVENANTS OF SELLER

        Section 4.01. General. The Seller represents and warrants to the Purchaser that as of the
date of this Sale Agreement:

        (a)       The Seller is duly organized and existing under the laws of the State of Delaware;
and

       (b)     The Seller has all requisite power and authority to enter into and to perform the
terms of this Sale Agreement.

        Section 4.02. Loan Representations. The Seller represents and warrants to the Purchaser
that with respect to each Transferred Student Loan purchased by the Purchaser pursuant to this
Sale Agreement, the Seller is making the same representations and warranties made by the
respective program lender with respect to each Transferred Student Loan pursuant to the
respective Student Loan Purchase Agreement listed on Schedule B attached hereto.

       Section 4.03. Covenants. The Seller, in its capacity as purchaser of the Transferred
Student Loans pursuant to the Pool Supplements, hereby covenants that it will enforce the
covenants and agreements of each program lender in the respective Student Loan Purchase
Agreement and related Pool Supplement. The Seller further covenants that it will not waive,
amend, modify, supplement or terminate any Student Loan Purchase Agreement or Pool
Supplement or any provision thereof without the consent of the Purchaser, which consent the
Purchaser hereby agrees not to provide without the prior written consent of the Indenture Trustee
and the Interested Noteholders in accordance with the Purchaser's covenant in Section 3.07(c) of
the Indenture.

                                      ARTICLE V
                          PURCHASE OF LOANS; REIMBURSEMENT

        Each party to this Sale Agreement shall give notice to the other such parties and to the
Servicers, First Marblehead Data Services, Inc. and Wilmington Trust Company (the "Owner
Trustee") promptly, in writing, upon the discovery of any breach of the Seller's representations
and warranties made pursuant to this Sale Agreement which has a materially adverse effect on
the interest of the Purchaser in any Transferred Student Loan. In the event of such a material
breach, the Seller shall cure or repurchase the Transferred Student Loan in accordance with the
remedies set forth in the respective Student Loan Purchase Agreement.

                                       ARTICLE VI
                            LIABILITY OF SELLER; INDEMNITIES

        The Seller shall be liable in accordance herewith only to the extent of the obligations
specifically undertaken by the Seller under this Sale Agreement.
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        (a)    The Seller shall indemnify, defend and hold harmless the Purchaser and the
Owner Trustee in its individual capacity and their officers, directors, employees and agents from
and against any taxes that may at any time be asserted against any such Person with respect to
the transactions contemplated herein and in the other Basic Documents (except any such income
taxes arising out of fees paid to the Owner Trustee), including any sales, gross receipts, general
corporation, tangible and intangible personal property, privilege or license taxes and costs and
expenses in defending against the same.

        (b)     The Seller shall indemnify, defend and hold harmless the Purchaser and the
Owner Trustee in its individual capacity and their officers, directors, employees and agents from
and against any and all costs, expenses, losses, claims, damages and liabilities arising out of, or
imposed upon such Person through, the Seller's willful misfeasance, bad faith or gross
negligence in the performance of its duties under this Sale Agreement, or by reason of reckless
disregard of its obligations and duties under this Sale Agreement.

        Indemnification under this Section shall survive the termination of this Sale Agreement
and shall include reasonable fees and expenses of counsel and expenses of litigation. If the
Seller shall have made any indemnity payments pursuant to this Section and the Person to or for
the benefit of whom such payments are made thereafter shall collect any of such amounts from
others, such Person shall promptly repay such amounts to the Seller, without interest.

                                      ARTICLE VII
                       MERGER OR CONSOLIDATION OF, OR ASSUMPTION
                             OF THE OBLIGATIONS OF, SELLER

        Any Person (a) into which the Seller may be merged or consolidated, (b) which may
result from any merger or consolidation to which the Seller shall be a party or (c) which may
succeed to the properties and assets of the Seller substantially as a whole, shall be the successor
to the Seller without the execution or filing of any document or any further act by any of the
parties to this Sale Agreement; provided, however, that the Seller hereby covenants that it will
not consummate any of the foregoing transactions except upon satisfaction of the following: (i)
the surviving Person, if other than the Seller, executes an agreement of assumption to perform
every obligation of the Seller under this Sale Agreement, (ii) immediately after giving effect to
such transaction, no representation or warranty made pursuant to this Sale Agreement shall have
been breached, (iii) the surviving Person, if other than the Seller, shall have delivered an
Officers' Certificate and an opinion of counsel each stating that such consolidation, merger or
succession and such agreement of assumption comply with this Section and that all conditions
precedent, if any, provided for in this Sale Agreement relating to such transaction have been
complied with, and that the Rating Agency Condition shall have been satisfied with respect to
such transaction, (iv) if the Seller is not the surviving entity, such transaction will not result in a
material adverse federal or state tax consequence to the Purchaser or the Noteholders, and (v) if
the Seller is not the surviving entity, the Seller shall have delivered an opinion of counsel either
(A) stating that, in the opinion of such counsel, all financing statements and continuation
statements and amendments thereto have been executed and filed that are necessary fully to
preserve and protect the interest of the Purchaser in the Transferred Student Loans and reciting
the details of such filings, or (B) stating that, in the opinion of such counsel, no such action shall
be necessary to preserve and protect such interests.

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                                    ARTICLE VIII
                   LIMITATION ON LIABILITY OF SELLER AND OTHERS

        The Seller and any director or officer or employee or agent thereof may rely in good faith
on the advice of counsel or on any document of any kind, prima facie properly executed and
submitted by any Person respecting any matters arising hereunder (provided that such reliance
shall not limit in any way the Seller's obligations under this Sale Agreement). The Seller shall
not be under any obligation to appear in, prosecute or defend any legal action that shall not be
incidental to its obligations under this Sale Agreement or the Student Loan Purchase
Agreements, and that in its opinion may involve it in any expense or liability.

                                        ARTICLE IX
                                  SURVIVAL OF COVENANTS
        All covenants, agreements, representations and warranties made herein shall survive the
consummation of the purchase of the Transferred Student Loans; provided, however, that to the
extent any of the same relate to a corresponding covenant, agreement, representation or warranty
contained in a Student Loan Purchase Agreement, the same shall survive to the extent that such
corresponding covenant, agreement, representation or warranty survives the applicable Student
Loan Purchase Agreement. All covenants, agreements, representations and warranties made or
furnished pursuant hereto by or for the benefit of the Seller shall bind and inure to the benefit of
any successors or assigns of the Purchaser, including the Indenture Trustee. This Sale
Agreement may be changed, modified or discharged, and any rights or obligations hereunder
may be waived, only by a written instrument signed by a duly authorized officer of the party
against whom enforcement of any such waiver, change, modification or discharge is sought. The
waiver by the Indenture Trustee, at the direction of the Noteholders pursuant to the Indenture, of
any covenant, agreement, representation or warranty required to be made or furnished by the
Seller or the waiver by the Indenture Trustee, at the direction of the Noteholders pursuant to the
Indenture, of any provision herein contained shall not be deemed to be a waiver of any breach of
any other covenant, agreement, representation, warranty or provision herein contained, nor shall
any waiver or any custom or practice which may evolve between the parties in the administration
of the terms hereof, be construed to lessen the right of the Indenture Trustee, at the direction of
the Noteholders pursuant to the Indenture, to insist upon the performance by the Seller in strict
accordance with said terms.

                                     ARTICLE X
                       COMMUNICATION AND NOTICE REQUIREMENTS

        All communications, notices and approvals provided for hereunder shall be in writing and
mailed or delivered to the Seller or the Purchaser, as the case may be. Notice given in any such
communication, mailed to the Seller or the Purchaser by appropriately addressed registered mail,
shall be deemed to have been given on the day following the date of such mailing and shall be
addressed as follows:




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        If to the Purchaser, to:

                  The National Collegiate Student Loan Trust 2006-2
                  c/o Wilmington Trust Company, as Owner Trustee
                  100 North Market Street
                  Wilmington, Delaware 19890-0001
                  Attention: Corporate Trust Department

        If to the Seller, to:

                  The National Collegiate Funding LLC
                  c/o First Marblehead Data Services, Inc.
                  The Prudential Tower
                  800 Boylston Street - 34th Floor
                  Boston, MA 02199-8157
                  Attention: Ms. Rosalyn Bonaventure

        with a copy to:

                  First Marblehead Corporation
                  The Prudential Tower
                  800 Boylston Street - 34th Floor
                  Boston, MA 02199-8157
                  Attention: Corporate Law Department

or to such other address as either party shall have provided to the other parties in writing. Any
notice required to be in writing hereunder shall be deemed given if such notice is mailed by
certified mail, postage prepaid, or hand delivered to the address of such party as provided above.

                                            ARTICLE XI
                                           AMENDMENT

       This Sale Agreement may be amended by the parties hereto without the consent of the
Noteholders for the purpose of adding any provisions to or changing in any manner or
eliminating any of the provisions of the Sale Agreement or of modifying in any manner the rights
of such Noteholders; provided that such action will not, in the opinion of counsel satisfactory to
the Indenture Trustee, materially affect the interest of any such Noteholder.

        In addition, this Sale Agreement may also be amended from time to time by the Seller
and the Purchaser, with the consent of the Noteholders of the Notes evidencing a majority of the
Outstanding Amount of the Notes and the consent of the Certificateholders of the Certificates
evidencing a majority of the outstanding principal amount of the Certificates, for the purpose of
adding any provisions to or changing in any manner or eliminating any of the provisions of this
Sale Agreement or of modifying in any manner the rights of the Noteholders or the
Certificateholders, respectively; provided, however, that no such amendment shall (a) increase or
reduce in any manner the amount of, or accelerate or delay the time of, collections of payments
with respect to Transferred Student Loans or distributions that shall be required to be made for
the benefit of the Noteholders, or (b) reduce the aforesaid percentage of the Outstanding Amount
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of the Notes or the Certificates, the Noteholders or the Certificateholders of which are required to
consent to any such amendment, without the consent of all outstanding Noteholders or
Certificateholders, respectively.

        Promptly after the execution of any such amendment or consent (or, in the case of the
Rating Agencies, five Business Days prior thereto), the Purchaser shall furnish written
notification of the substance of such amendment or consent to the Indenture Trustee and each of
the Rating Agencies.

       It shall not be necessary for the consent of Noteholders pursuant to this Section to
approve the particular form of any proposed amendment or consent, but it shall be sufficient if
such consent shall approve the substance thereof.

        Prior to the execution of any amendment to this Sale Agreement, the Owner Trustee shall
be entitled to receive and rely upon an opinion of counsel stating that execution of such
amendment is authorized or permitted by this Sale Agreement. The Owner Trustee may, but
shall not be obligated to, enter into any such amendment which affects the Owner Trustee's own
rights, duties or immunities under this Sale Agreement or otherwise.

                                         ARTICLE XII
                                         ASSIGNMENT

        The Seller hereby assigns its entire right, title and interest as purchaser under this Sale
Agreement and the Student Loan Purchase Agreement thereunder to the Purchaser as of the date
hereof and acknowledges that the Purchaser will assign the same, together with the right, title
and interest of the Purchaser hereunder, to the Indenture Trustee under the Indenture.

                                       ARTICLE XIII
                                      GOVERNING LAW

     THIS SALE AGREEMENT SHALL BE GOVERNED BY AND CONSTRUED IN
ACCORDANCE WITH THE LAWS OF THE STATE OF NEW YORK, INCLUDING
SECTIONS 5-1401 AND 5-1402 OF THE NEW YORK GENERAL OBLIGATIONS LAW,
BUT OTHERWISE WITHOUT REGARD TO CONFLICT OF LAW PRINCIPLES, AND
THE OBLIGATIONS, RIGHTS AND REMEDIES OF THE PARTIES HEREUNDER
SHALL BE DETERMINED IN ACCORDANCE WITH SUCH LAWS.

                                      ARTICLE XIV
                       LIMITATION OF LIABILITY OF OWNER TRUSTEE

       Notwithstanding anything contained herein to the contrary, this instrument has been
executed by Wilmington Trust Company, not in its individual capacity but solely in its capacity
as Owner Trustee of the Purchaser, and in no event shall Wilmington Trust Company in its
individual capacity or any beneficial owner of the Purchaser have any liability for the
representations, warranties, covenants, agreements or other obligations of the Purchaser
hereunder, as to all of which recourse shall be had solely to the assets of the Purchaser. For all
purposes of this Sale Agreement, in the performance of any duties or obligations of the Purchaser


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hereunder, the Owner Trustee shall be subject to, and entitled to the benefits of, the terms and
provisions of Articles VIII, DC and X of the Trust Agreement.

                                   [Signature Pages Follow]




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         IN WITNESS WHEREOF, the parties hereto have caused this Sale Agreement to be duly
 executed by their respective officers hereunto duly authorized, as of the day and year first above
 written.

                                        THE NATIONAL COLLEGIATE FUNDING LLC,
                                          as Seller

                                        By: GATE Holdings, Inc., Member


                                        By:
                                              Name:
                                              Title:


                                        THE NJmCWAL COLLEGIATE STUDENT LOAN
                                          TRUST-2006-2, as Purchaser

                                        By: WILMINGTON TRUST COMPANY, not in its
                                            individual capacity but solely as Owner Trustee



                                        By:
                                              Name:
                                              Title:




                              [Signature Page to Deposit and Sale Agreement]




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         IN WITNESS WHEREOF, the parties hereto have caused this Sale Agreement to be duly
 executed by their respective officers hereunto duly authorized, as of the day and year first above
 written.

                                        THE NATIONAL COLLEGIATE FUNDING LLC,
                                          as Seller

                                        By: GATE Holdings, Inc., Member

                                        By:                  '
                                              Name: John A. Hupalo
                                              Title: Vice President


                                        THE NATIONAL COLLEGIATE STUDENT LOAN
                                          TRUST 2006-2, as Purchaser

                                        By: WILMINGTON TRUST COMPANY, not in its
                                            individual capacity but solely as Owner Trustee



                                        By:
                                              Namef^
                                              Title:
                                                                 1MMETTR HARMON
                                                                  VICE PRESIDENT




                             [Signature Page to Deposit and Sale Agreement]




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                                       SCHEDULE A

                                      Pool Supplements

Each of the following Pool Supplements was entered into by and among The First Marblehead
Corporation, The National Collegiate Funding LLC and:

•       Bank of America, N.A., dated June 8, 2006, for loans that were originated under Bank of
        America's BAGEL Loan Program, CEDU Loan Program, Direct to Consumer Loan
        Program and ISLP Loan Program.
•       Bank One, N.A., dated June 8, 2006, for loans that were originated under Bank One's
        CORPORATE ADVANTAGE Loan Program, EDUCATION ONE Loan Program and
        M&T REFERRAL Loan Program.
•       Charter One Bank, N.A., dated June 8, 2006, for loans that were originated under the
        following Charter One programs: AAA Southern New England Bank, AES
        EducationGAIN Loan Program, Axiom Alternative Loan Program, CFS Direct to
        Consumer Loan Program, Citibank Flexible Education Loan Program, College Board
        Alternative Loan Program, College Loan Corporation Loan Program, Collegiate
        Solutions Alternative Loan Program, Comerica Alternative Loan Program, Custom
        Educredit Loan Program, EdFinancial Loan Program, Extra Credit II Loan Program
        (North Texas Higher Education), M&I Alternative Loan Program, National Education
        Loan Program, NextStudent Alternative Loan Program, NextStudent Private
        Consolidation Loan Program, SAP Alternative Loan Program, START Education Loan
        Program, and UPromise Alternative Loan Program,
•       Chase Manhattan Bank USA, N.A., dated June 8, 2006, for loans that were originated
        under Chase's Chase Extra Loan Program.
•       Citizens Bank of Rhode Island, dated June 8, 2006, for loans that were originated under
        Citizens Bank of Rhode Island's Compass Bank Loan Program, Alternative Loan
        Program, Navy Federal Referral Loan Program, FinanSure Loan Program, and Xanthus
        Loan Program.
•       First National Bank Northeast, dated June 8, 2006, for loans that were originated under
        First National Bank Northeast's CASL Alternative Loan Program.
•       GMAC Bank, dated June 8, 2006, for loans that were originated under GMAC Bank's
        Alternative Loan Program.
•       HSBC Bank USA, National Association, dated June 8, 2006, for loans that were
        originated under the HSBC Loan Program.
•       The Huntington National Bank, dated June 8, 2006, for loans that were originated under
        The Huntington National Bank's Huntington Bank Education Loan Program.
•       Manufacturers and Traders Trust Company, dated June 8, 2006, for loans that were
        originated under Manufacturers and Traders Trust Company's M&T Alternative Loan
        Program.
•       PNC Bank, N.A., dated June 8, 2006, for loans that were originated under PNC Bank's
        PNC Bank Alternative Loan Program, Brazos Alternative Loan Program, Edvisors
        Alternative Loan Program, and Regions Bank Alternative Loan Program.
•       Sovereign Bank, dated June 8, 2006, for loans that were originated under Sovereign
        Bank's Alternative Loan Program.
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        SunTrust Bank, dated June 8,2006, for loans that were originated under SunTrust Bank's
        SunTrust Alternative Loan Program.
        TCP National Bank, dated June 8, 2006, for loans that were originated under TCP
        National Bank's Alternative Loan Program.
        U.S. Bank, N.A., dated June 8, 2006, for loans that were originated under U.S Bank's
        Alternative Loan Program.




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                                        SCHEDULE B

                              Student Loan Purchase Agreements


Each of the following Note Purchase Agreements, as amended or supplemented, was entered into
by and between The First Marblehead Corporation and:

•       Bank of America, N.A., dated April 30, 2001, for loans that were originated under Bank
        of America's BAGEL Loan Program, CEDU Loan Program and ISLP Loan Program.
•       Bank of America, N.A., dated June 30, 2003, for loans that were originated under Bank
        of America's Direct to Consumer Loan Program.
•       Bank of America, N.A., dated April 1,2006, for loans that were originated under Bank of
        America's Direct to Consumer Loan Program.
•       Bank One, N.A., dated May 1, 2002, for loans that were originated under Bank One's
        CORPORATE ADVANTAGE Loan Program and EDUCATION ONE Loan Program.
•       Bank One, N.A., dated July 26, 2002, for loans that were originated under Bank One's
        M&T REFERRAL Loan Program
•       Charter One Bank, N.A., dated as of December 29, 2003 for loans that were originated
        under Charter One's AAA Southern New England Bank Loan Program.
•       Charter One Bank, N.A., dated October 31, 2003, for loans that were originated under
        Charter One's AES EducationGAIN Loan Program.
•       Charter One Bank, N.A., dated May 15, 2002, for loans that were originated under
        Charter One's CFS Direct to Consumer Loan Program.
•       Charter One Bank, N.A., dated June 30, 2003, for loans that were originated under
        Charter One's Citibank Flexible Education Loan Program.
•       Charter One Bank, N.A., dated July 1, 2002, for loans that were originated under Charter
        One's College Loan Corporation Loan Program.
•       Charter One Bank, N.A., dated December 1, 2003, for loans that were originated under
        Charter One's Custom Educredit Loan Program.
•       Charter One Bank, N.A., dated May 10, 2004, for loans that were originated under
        Charter One's EdFinancial Loan Program.
•       Charter One Bank, N.A., dated September 15, 2003, for loans that were originated under
        Charter One's Extra Credit II Loan Program (North Texas Higher Education).
•       Charter One Bank, N.A., dated September 20, 2003, for loans that were originated under
        Charter One's M&I Alternative Loan Program.
•       Charter One Bank, N.A., dated November 17, 2003, for loans that were originated under
        Charter One's National Education Loan Program.
•       Charter One Bank, N.A., dated May 15, 2002, for loans that were originated under
        Charter One's NextStudent Alternative Loan Program.
•       Charter One Bank, N.A., dated March 26, 2004, for loans that were originated under
        Charter One's NextStudent Private Consolidation Loan Program.
•       Charter One Bank, N.A., dated March 25, 2004, for loans that were originated under
        Charter One's START Education Loan Program.
•       Charter One Bank, N.A., dated May 15, 2003, for loans that were originated under
        Charter One's WAMU Alternative Student Loan Program.
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        Charter One Bank, N.A., dated February 15, 2005, for loans that were originated under
        Charter One's Referral Loan Program (including loans in the UPromise, Collegiate
        Solutions, College Board, and Axiom Alternative Loan Programs).
        Chase Manhattan Bank USA, N.A., dated September 30, 2003, as amended on March 1,
        2004, September 8, 2004 and February 25, 2005, for loans that were originated under
        Chase's Chase Extra Loan Program.
        Citizens Bank of Rhode Island, dated April 30,2004, for loans that were originated under
        Citizens Bank of Rhode Island's Compass Bank Loan Program.
        Citizens Bank of Rhode Island, dated April 30,2004, for loans that were originated under
        Citizens Bank of Rhode Island's DTC Alternative Loan Program.
        Citizens Bank of Rhode Island, dated April 30, 2004, for loans that were originated under
        Citizens Bank of Rhode Island's Navy Federal Referral Loan Program.
        Citizens Bank of Rhode Island, dated April 30,2004, for loans that were originated under
        Citizens Bank of Rhode Island's Xanthus Loan Program.
        Citizens Bank of Rhode Island, dated April 30, 2004, for loans that were originated under
        Citizens Bank of Rhode Island's FinanSure Alternative Loan Program.
        First National Bank Northeast, dated August 1, 2001, for loans that were originated under
        First National Bank Northeast's CASL Undergraduate Alternative Loan Program.
        GMAC Bank, dated May 30, 2003, for loans that were originated under GMAC Bank's
        Alternative Loan Program
        HSBC Bank USA, National Association, dated April 17, 2002, as amended on June 2,
        2003 and August 1,2003, for loans that were originated under the HSBC Loan Program.
        The Huntington National Bank, dated May 20, 2003, for loans that were originated under
        The Huntington National Bank's Huntington Bank Education Loan Program.
        Manufacturers and Traders Trust Company, dated April 29, 2004, for loans that were
        originated under Manufacturers and Traders Trust Company's Alternative Loan Program.
        National City Bank, dated November 13, 2002, for loans that were originated under
        National City Bank's National City Loan Program.
        PNC Bank, N.A., dated April 22, 2004, for loans that were originated under PNC Bank's
        Alternative Loan Program.
        PNC Bank, N.A., dated April 22, 2004, for loans that were originated under PNC Bank's
        Brazos Alternative Loan Program.
        PNC Bank, N.A., dated April 22, 2004, for loans that were originated under PNC Bank's
        Edvisors Alternative Loan Program.
        PNC Bank, N.A., dated April 22, 2004, for loans that were originated under PNC Bank's
        Regions Bank Alternative Loan Program.
        Sovereign Bank, dated April 30, 2004, for loans that were originated under Sovereign
        Bank's Alternative Loan Program.
        SunTrust Bank, dated March 1, 2002, for loans that were originated under SunTrust
        Bank's SunTrust Alternative Loan Program.
        TCF National Bank, dated July 22, 2005, for loans that were originated under TCP
        National Bank's Alternative Loan Program.
        U.S. Bank, N.A., dated May 1, 2005, for loans that were originated under U.S Bank's
        Alternative Loan Program.


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National Collegiate Student Loan Trust 2006-2
Roster:              GMAC BANK
      Lender            Lender Code           Marketer                  Loan Product         Loan ID
                                                                    DTC -
                                                                    Undergraduate -
GMAC BANK              900005PM               GMAC Bank             Affinity           02961441




       SSN                 Disb. Date                Tier               Repay Type            Margin
               8657             02-Aug-05                      3 IM                                    0.045




                                                                        Total Gross
  Fee to Borrower       TERI Admin Fee          Marketing Fee            Disbursed      Total Net Disbursed
               0.07                0.015                  0.0375             $29,591.40          $27,520.00




                                                                                        Administrative Fee
                        Total Capitalized      Total Outstanding     Total Outstanding  Reimbursement on
 Total Net Principal        Interest            Gross Principal       Unpaid Interest     0% Fee Loans
         $27,243.15                   $0.00            $29,293.71               $459.38               $0.00


                                                                    Final Reconciliation Settlement Figures

  Origination Fee
Reimbursement Due        Total Marketing   Marketing Fees Due Marketing Fees Due         Total Amount Due
       Bank                   Fees                FMC                Bank                       Bank
            $100.00              $1,021.62               $0.00          $1,021.62                $30,874.71




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Ex-99.12                                                                                     Page 1 of 13




 EX-19 10 national-ex9912_061206.htm EXHIBIT 99.12
    CONFIDENTIAL MATERIALS OMITTED AND FILED SEPARATELY WITH THE
                       SECURITIES AND EXCHANGE COMMISSION.
                            ASTERISKS DENOTE OMISSIONS.


 Note: This Agreement contains confidential & proprietary information and may not be
 disclosed without theconsent
 of both parties or as required by law

                               GUARANTY AGREEMENT
                                       between
                       THE EDUCATION RESOURCES INSTITUTE, INC.
                                         and
                                    GMAC BANK

       This Guaranty Agreement (this "Agreement") is made as of this 30th day of May, 2003, by and
 between The Education Resources Institute, Inc. ("TERI"), a private non-profit corporation organized
 under Chapter 180 of the Massachusetts General Laws with its principal place of business at 31 St.
 James Avenue, 6th Floor, Boston, Massachusetts 02116, and GMAC Bank, (the "LENDER"), a
 federal savings bank having a place of business located at 3710 Kennett Pike, Greenville, DE 19807.

       WHEREAS, TERI is in the business of providing financial assistance in the form of loan
 guaranties to and on behalf of students enrolled in programs of higher education and their parents at
 TERI-approved schools; and

         WHEREAS, the LENDER is willing to make Loans to eligible Borrowers under the Program,
 and TERI is willing to guaranty the payment of principal and interest against the Borrowers' default or
 certain other events as more fully described below, in accordance with the terms and conditions set
 forth in this Agreement.

     NOW, THEREFORE, in consideration of the mutual covenants contained herein, TERI and the
 LENDER agree as follows:

 Section 1:   DEFINITIONS

 As used in this Agreement the following terms shall have the following meanings:

 1.1 "Agent" shall mean State Street Bank and Trust Company, its successors and assigns, in its
     capacity as Agent under the Deposit and Security Agreement among TERI, the LENDER, the
     Agent, and the First Marblehead Corporation ("FMC") of even date herewith (the "Deposit and
     Security Agreement").

 1.2 "Borrower" shall mean the person, or all persons collectively, including all students, cosigners,
     coborrowers, guarantors, endorsers, and accommodation parties, who execute a Promissory Note
     individually or, in the case of multiple Borrowers, severally and jointly, for the purpose of
     obtaining funds from the LENDER under the Program.

 1.3
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      "Due Diligence" shall mean the utilization by the LENDER of policies, practices and procedures
      in the origination, servicing and collection of Loans that comply with the standards set forth in
      the Program Guidelines and that comply with the requirements of federal and state law and
      regulation.

 1.4 "Guaranty Claim" shall mean a claim by the LENDER to TERI for a guaranty payment with
     respect to a Loan pursuant to Section 2.1 of this Agreement.

 1.5 "Guaranty Event" shall mean any of the following events with respect to a Loan:

      a.   failure of a Borrower to make monthly principal and/or interest payments on a Loan when
           due, provided such failure persists for a period of one hundred eighty (180) consecutive
           days,

      b.   the filing of a petition in bankruptcy with respect to a Borrower,

      c.   the death of a Borrower, or

      d.   fraud in the execution of a Promissory Note.

           For Loans on which the Borrower is two or more persons, none of the above, with the
           exception of paragraph b. and d, shall be a Guaranty Event unless one or more such events
           shall have occurred with respect to all such persons. The foregoing notwithstanding, if a
           Borrower files a petition in bankruptcy pursuant to Chapter 7 of the U.S. Bankruptcy Code
           and does not seek a discharge of the affected Loan(s) under 11 U.S.C. §523(a)(8)(B) of the
           U.S. Bankruptcy Code, the LENDER at TERI's request will withdraw its guaranty claim
           unless or until one of the other Guaranty Events shall have occurred with respect thereto.

 1.6 "Loan" shall mean a loan of funds, including all disbursements thereof, made by the LENDER to
     a Borrower under the Program.

 1.7 "Note Purchase Agreement" means the agreement of that name between LENDER and The First
     Marblehead Corporation ("FMC") dated as of even date herewith, as it may be amended from
     time to time.

 1.8 "Program" shall mean the GMAC Bank Student Loan Program as more fully described in the
     Program Guidelines.

 1.9 "Program Guidelines" shall mean the GMAC Bank Student Loan Program Guidelines attached
     hereto as Exhibit A, and all changes thereto as provided in Section 6 hereof. The Program
     Guidelines (a) consist of the Program Overview, the TERI Underwriting, Origination and Loan
     Term Guidelines, the Servicing Guidelines, and Program Borrower Documents (consisting of the
     forms of Promissory Note and Truth in Lending Disclosure) and (b) are hereby incorporated in
     this Agreement by reference and made a part hereof.

 1.10 "Promissory Note" shall mean a promissory note evidencing a Loan executed by a Borrower in
      the form attached hereto as part of the Program Guidelines or as approved pursuant to Section
      3.2 below.


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 1.11 "Securitization Transaction" shall mean and refer to (a) a purchase of Loans guaranteed
      hereunder by a special purpose entity ("SPE") formed by FMC, which purchase is funded
      through the issuance of debt instruments or other securities by such entity, the repayment of
      which is supported by payments on the Loans or (b) any other transaction whereby a Loan is
      transferred from the LENDER to FMC or one of its affiliates.


 Section 2:      GUARANTY OF LOANS

 2.1 TERI hereby guarantees to the LENDER, unconditionally except as set forth in Section 2.2
     below, the payment of 100% of the principal of and accrued interest on every Loan as to which a
     Guaranty Event has occurred. "Accrued interest" shall mean interest accrued and unpaid to the
     date of payment in full by TERI of a Guaranty Claim, less any interest that shall have accrued
     after the filing of a Guaranty Claim but before TERI shall have received all the documentation
     necessary to process the Guaranty Claim as set forth in the Program Guidelines. TERI will use
     all reasonable efforts to make payment on its guaranty within sixty (60) days, and will in any
     event make payment within ninety (90) days, of receipt by TERI of a Guaranty Claim from the
     LENDER stating the name of the Borrower and the type of Guaranty Event that has occurred
     accompanied by the full claim documentation required in the Program Guidelines.

 2.2 TERI's guaranty is conditioned upon the following:

      a.      The LENDER must have filed its Guaranty Claim within the time period and following the
              procedures specified in the Program Guidelines.

      b.      The LENDER and its predecessors in interest must at all times have exercised Due
              Diligence with respect to the Loan in question (or shall have cured any failure to exercise
              Due Diligence under the reinstatement provisions in Section 2.4 hereof and the Program
              Guidelines), and must have complied with all other requirements of the Program Guidelines
              applicable to the Loan.

      c.      The LENDER shall have paid to TERI the Guaranty Fee in accordance with Section 3.3
              below and Schedule 3.3.

      d.      TERI must have received from the LENDER the Promissory Note relating to the Loan in
              question, (i) executed in accordance with the Servicing Guidelines (set forth within th
              Program Guidelines), (ii) enforceable against the Borrower (except as provided in this
              Section 2.2.d., below), and (iii) endorsed to TERI in such manner as to transfer to TERI all
              rights in and title to such Promissory Note, free and clear of all liens and encumbrances,
              and of all defenses, counterclaims, offsets, and rights of rescission that might be raised by
              the Borrower. Submission of a Guaranty Claim to TERI shall constitute the LENDER's
              certification that the conditions of 2.2.b. and 2.2.d. have been met, and TERI is entitled to
              rely on such certification.

              Subsections 2.2.b. and 2.2.d. above notwithstanding, if a Loan that is the subject of a
              Guaranty Claim was originated by TERI on behalf of the LENDER pursuant to a Loan
              Origination Agreement between the parties, (i) TERI will not deny the LENDER's
              Guaranty Claim on such Loan if the sole basis for denial is a violation of the Program
              Guidelines or a violation of Massachusetts or federal law committed by TERI in the

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           origination process, and (ii) TERI will have no recourse against the LENDER in the event
           that TERI's actions or omissions in the origination process shall have given rise to a
           successful defense in favor of the Borrower in a suit on the Promissory Note relating to
           such Loan.

 2.3 TERI's guaranty obligation with respect to any Loan shall not be terminated or otherwise
     affected or impaired (i) by the LENDER's or its servicer's granting an extension of time to the
     Borrower to make scheduled payments, or by any other indulgence the LENDER may grant to
     the Borrower, provided that all extensions and other indulgences meet the forbearance standards
     and other requirements of the Program Guidelines; or, Section 2.2.d. above notwithstanding, (ii)
     because of any fraud in the execution of the Promissory Note relating to such Loan, (iii) because
     of any illegal or improper acts of the Borrower, or (iv) because the Borrower may be relieved of
     liability for such Loan due to lack of contractual capacity or any other statutory exemption.

 2.4 Except as provided in sections 2.2 and 2.3 above, TERI may deny the LENDER's Guaranty
     Claim on any Loan on the grounds of Due Diligence deficiencies. If TERI properly denies the
     LENDER's Guaranty Claim on any Loan on the grounds of Due Diligence deficiencies, the
     LENDER may thereafter require that TERI reinstate the guaranty of such Loan if (a) the
     LENDER corrects such deficiencies and receives four (4) consecutive full on-time monthly
     payments from the Borrower, according to any schedule permitted by the Program Guidelines,
     and if at the time of the LENDER's request the Borrower is within thirty (30) days of being
     current on all principal and interest payments on such Loan, or (b) the LENDER satisfies any
     other method of cure set forth in the Program Guidelines.

 2.5 TERI's guaranty hereunder is a continuing and absolute guaranty of payment and not merely of
     collection, covering Loans made in accordance herewith based upon applications received by the
     LENDER prior to termination of this Agreement; and such termination shall not affect TERI's
     obligations to the LENDER then existing, whether direct or indirect, absolute or contingent, then
     due or thereafter to become due.

 2.6 TERI agrees not to exercise any right of subrogation, reimbursement, indemnity, contribution or
     the like against the Borrower of any Loan unless and until all of TERI's obligations to the
     LENDER under this Agreement with respect to such Loan have been satisfied in full, except to
     the extent that it is deemed a valid claimant as a contingent creditor, for example, under Title 11
     of the United States Code (the "Bankruptcy Code"), or applicable state law.

 2.7 TERI will permit the LENDER, any duly designated representative of the LENDER, or any
     governmental body having jurisdiction over the LENDER (subject to written notice being
     provided to TERI by the LENDER, identifying the requesting party and the date of the review),
     to examine and audit the books and records of TERI pertaining to the Loans, at any time during
     TERI's regular business hours, provided that in the case of examinations by the LENDER or its
     representative, absent good cause (i) TERI must be given ten (10) business days' prior written
     notice and, (ii) no more than one such audit may be conducted with respect to any twelve-month
     period or will take place in any twelve-month period. In no event will any audit be performed
     during July, August, September, or October in any year except at the request of a regulatory
     authority having jurisdiction over the LENDER.

 2.8 TERI will indemnify the LENDER and hold it harmless from and against any loss, cost, damage
     or expense that the LENDER may suffer as a result of claims to the extent they arise out of

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      TERI's actions or omissions relative to the LENDER's participation in the Program and do not
      arise out of the LENDER's actions or omissions. "Expense" includes, without limitation, the
      LENDER's reasonable attorney's fees. TERI will further indemnify the LENDER and hold it
      harmless from and against any claim brought against the LENDER by any Borrower based on
      actions or omissions of the LENDER that were mandated under the Program Guidelines.

 2.9 The LENDER acknowledges that TERI's approval of a servicer is in no way an endorsement of
     such servicer and that TERI shall have no liability to the LENDER for any losses arising from
     such servicer's failure to comply with Due Diligence or the Program Guidelines or applicable
     law, nor shall TERI be required to honor any claim submitted by such servicer if the claim does
     not comply with the requirements of this Agreement.


 Section 3:        OBLIGATIONS OF THE LENDER

 3.1 In originating (in the event and to the extent TERI is not performing origination services for
     Lender), servicing, disbursing, and collecting Loans, the LENDER will comply, and cause its
     servicer and others acting on its behalf to comply, at all times with all Program Guidelines
     (including Due Diligence requirements) and all applicable requirements of federal and state laws
     and regulations.

 3.2 a. The LENDER will use Promissory Notes, Loan applications, disclosure statements, and
     other forms mutually agreeable to the parties. The forms of Promissory Notes, Loan applications
     and disclosure statement attached hereto as part of the Program Guidelines are agreed to be
     satisfactory to both parties. Without limiting the generality of Sections 3.1 and 4.1, the LENDER
     warrants the conformity of such instruments and any agreed successors thereto with all
     applicable legal requirements of the federal Home Owners Loan Act and of states other than the
     state of Massachusetts, and TERI warrants their conformity with Massachusetts and federal laws
     other than the federal Home Owners Loan Act.

      b.      In addition, upon TERI's request, the LENDER will submit to TERI sample copies of
              promotional and marketing materials used in connection with the Program. No such request
              for promotional and marketing materials shall constitute or be construed as a representation
              or warranty by TERI that such materials comply with applicable law or with the LENDER's
              obligations under this Agreement, and no such request by TERI shall excuse the LENDER's
              performance of any of its obligations under this Agreement. Lender warrants that all
              promotional and marketing materials it uses in connection with the Program and its use
              thereof comply with all applicable federal and state laws and regulations.

 3.3 The LENDER will pay a guaranty fee for each Loan (the "Guaranty Fee") as follows:

      a       At the time of each disbursement of the Loan, the LENDER will promptly remit to TERI
              [**] of the principal amount of the Loan disbursed (the "Initial Guaranty Fee").

      b.      At such times as are set forth in Schedule 3.3 attached hereto and incorporated herein by
              reference, such additional fees as are set forth in the fifth and sixth columns of Schedule 3.3
              ("Subsequent Guaranty Fee").

              i.

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                 If the terms of Schedule 3.3 call for any Guaranty Fees to be paid to TERI or to the
                 Agent concurrent with the Securitization Transaction, the LENDER shall pay such
                 fees directly (and be reimbursed in the Securitization Transaction to the extent
                 provided in the Note Purchase Agreement).

           ii.   In the event that a Guaranty Claim is made with respect to a Loan before a Subsequent
                 Guaranty Fee is scheduled to be paid by the LENDER for such Loan, the Subsequent
                 Guaranty Fee shall become immediately due and payable.

           iii. In the event that a loan is prepaid in full prior to the date that a Subsequent Guaranty
                Fee is scheduled to be paid by the LENDER for such Loan, the Subsequent Guaranty
                Fee shall nevertheless become due and payable at the time that would have applied if
                such prepayment had not occurred. For example, if a Subsequent Guaranty Fee is due
                at the time of a Securitization Transaction and a Loan is prepaid before it is eligible for
                Securitization, then the Subsequent Guaranty Fee with respect to such Loan shall
                become due at the first Securitization Transaction in which such Loan would have
                been eligible for inclusion, had prepayment not occurred.

           iv.   In the event that FMC fails to purchase any Loan under the Note Purchase Agreement,
                 and the LENDER sells such Loan to a third party, the Guaranty Fees due with respect
                 to such loan at the time of a Securitization Transaction will instead be paid by the
                 LENDER at the time the loan is sold to the third party.

           v.    In the event FMC has no further right or obligation under the Note Purchase
                 Agreement to purchase a Loan in a Securitization Transaction, the LENDER shall pay
                 all Subsequent Guaranty Fees that are due to be paid at the time of securitization as set
                 forth in Schedule 3.3. Such fees shall be payable (A) with respect to any Loan already
                 funded, within thirty (30) days after presentation of an invoice by TERI to the Lender,
                 and (B) with respect to Loans funded after the date of such invoice, at the time of
                 disbursement.

           vi.   In the event that the LENDER fails to sell any Loan to FMC because the LENDER has
                 breached the Note Purchase Agreement, the LENDER shall pay all Subsequent
                 Guaranty Fees that are due to be paid at the time of securitization as set forth in
                 Schedule 3.3. Such fees shall be payable directly to TERI and shall not be subject to
                 the Deposit and Security Agreement.

     c.    Failure to remit any Guaranty Fee within thirty (30) days of the time set forth above will not
           affect the validity of the guaranty for any Loan for which the Guaranty Fee has already
           been paid in full, but, as a result, TERI will have the right, at its discretion to (i) void its
           obligation to guarantee or collect the Loan to which such Guaranty Fee relates or (ii) collect
           the amount of any such Guaranty Fee and to add interest at the rate of eighteen percent
           (18%) per annum from the disbursement date of the Loan to which such Guaranty Fee
           relates, plus any costs (including attorneys' fees and expenses) incurred by TERI in
           collecting or attempting to collect such Guaranty Fee from the LENDER.

     d.    Anything in the Program Guidelines to the contrary notwithstanding, if the LENDER is
           required under the terms of a Promissory Note to refund all or part of the Guaranty Fees
           identified above to a Borrower, TERI will refund all or part of the Guaranty Fee it has

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              received and the Agent will refund all or part of any Guaranty Fee it has received (in each
              case related to the refund to such Borrower) to the LENDER upon being so advised by the
              LENDER in writing.

 3.4 If TERI shall have purchased a Loan pursuant to Section 2.1 above, the LENDER will promptly
     repurchase such Loan upon request from TERI if (i) TERI succeeds, after purchasing, in
     obtaining from the Borrower three full consecutive on-time monthly payments, according to any
     schedule permitted by the Program Guidelines, provided that on the date of TERI's notice to
     repurchase, the Borrower is within thirty (30) days of being current on his or her payments on
     such Loan, and provided further that this repurchase obligation may be invoked by TERI only
     once as to any Loan (in which case, the Loan shall be considered "rehabilitated"); or (ii) if TERI
     should determine that the Loan does not meet the conditions set forth in subsections b., c. and d.
     of Section 2.2 above. With respect to the repurchase of any Guaranteed Loan pursuant to this
     Section 3.4, the repurchase price shall be equal to (1) the remaining unpaid principal balance of
     such Loan, plus (2) any accrued and unpaid interest thereon.

 3.5 To the extent permitted by applicable law, the LENDER will (i) deliver to TERI such reports,
     documents, and other information concerning the Loans as TERI may reasonably require, and
     (ii) permit independent auditors, authorized representatives of TERI and governmental agencies,
     if any, having regulatory authority over TERI, to have access to the operational and financial
     records and procedures directly applicable to Loans and to the LENDER's participation in the
     Program. LENDER will cause its loan servicer to deliver to TERI such reports, documents, and
     other detailed information concerning each Loan as TERI may reasonably require. LENDER
     shall provide a monthly report containing the information set forth on Exhibit B hereto at
     LENDER's expense TERI shall arrange directly with the loan servicer to receive the report. Any
     other reporting or information shall be provided upon TERI's agreement to reimburse LENDER
     for its incremental cost of such report.

 3.6 If the LENDER should violate any term of this Agreement, it will be liable to TERI for all loss,
     cost, damage or expense sustained by TERI as a result. The LENDER will indemnify TERI and
     hold it harmless from and against all loss, cost, damage or expense that TERI may suffer as a
     result of claims to the extent they arise out of the LENDER's actions or omissions relative to the
     LENDER's participation in the Program unless such actions or omissions are specifically
     required by this Agreement, and do not arise out of TERI's actions or omissions. The LENDER
     will similarly indemnify TERI with respect to any defenses arising from the LENDER's violation
     of or failure to comply with any term of this Agreement, that may be raised by a Borrower to any
     suit upon a Promissory Note. "Expense" includes, without limitation, TERI's reasonable
     attorney's fees.


 Section 4:     REPRESENTATIONS AND WARRANTIES

 4.1 Each party represents and warrants to the other that its execution, delivery and performance of
     this Agreement are within its power and authority, have been authorized by proper proceedings,
     and do not and will not contravene any provision of law or such party's organizational
     documents or by-laws or contravene any provision of, or constitute an event of default or an
     event which, with the lapse of time or with the giving of notice or both, would constitute an
     event of default, under any other agreement, instrument or undertaking by which such party is
     bound. Each party represents and warrants that it has and will maintain in full force and effect all

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       licenses required under applicable state, federal, local or other law for the conduct of all
       activities contemplated by this Agreement and comply with all requirements of such applicable
       law relative to its licenses and the conduct of all activities contemplated by this Agreement. This
       Agreement and all of its terms and provisions are and shall remain the legal and binding
       obligation of the parties, enforceable in accordance with its terms subject to bankruptcy and
       insolvency laws. The warranties given herein shall survive any termination of this Agreement.

 4.2 The parties acknowledge that TERI is not an insurer or reinsurer and the LENDER expressly
     waives all claims it might otherwise have under applicable law were TERI to be held by any
     court or regulatory agency to be acting as an insurer or reinsurer hereunder. The only obligations
     of TERI to the LENDER shall be those expressly set forth herein.


 Section 5:     MISCELLANEOUS

 5.1 Neither party is or will hold itself out to be the agent, partner, or joint venturer of the other party
     with regard to any transaction under or pursuant to this Agreement.

 5.2 Each party's respective rights, remedies, powers, privileges, and discretions ("Rights and
     Remedies") shall be cumulative and not exclusive. No delay or omission by either party in
     exercising or enforcing any of its Rights and Remedies shall operate as to constitute a waiver of
     them. No waiver by a party of any default under this Agreement shall operate as a waiver of any
     subsequent or other default under this Agreement. No single or partial exercise by a party of any
     of its Rights and Remedies shall preclude the other of further exercise of such Rights and
     Remedies. No waiver or modification by a party of the Rights and Remedies on any one
     occasion shall be deemed a continuing waiver. A party may exercise its various Rights and
     Remedies at such time or times and in such order of preference as it in its sole discretion may
     determine. In no event will either party be liable to the other for special, incidental, or
     consequential damages, including but not limited to lost profits, even if advised in advance of the
     possibility of the same, or for punitive or exemplary damages, provided that such exclusions
     shall not apply to the indemnification against an award of such damages pursuant to a third party
     claim.

 5.3 This Agreement (including the Program Guidelines and all exhibits and schedules hereto),
     together with (i) the Deposit and Security Agreement and (ii) the Loan Origination Agreement,
     of even date herewith, between TERI and the LENDER ((i) and (ii) together, the "Ancillary
     Agreements"), represents the entire understanding of the parties with respect to the subject
     matter hereof. This Agreement, together with any contemporaneous contract concerning credit
     analysis and the Ancillary Agreements, supersedes all prior communications whatsoever
     between the parties relative in any way to Loans or the LENDER's participation in the Program.
     This Agreement may be modified only by written agreement of the parties hereto, except as may
     otherwise be set forth herein.

 5.4 Any determination that any provision of this Agreement is invalid, illegal, or unenforceable in
     any respect shall not affect the validity, legality, or enforceability of such provision in any other
     instance and shall not affect the validity, legality, or enforceability of any other provision of this
     Agreement.

 5.5

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      Each of the parties will timely implement, if it has not already, and will maintain, a reasonable
      disaster recovery plan. Subject to the foregoing, no party hereto shall be responsible for, or in
      breach of this Agreement if it is unable to perform as a result of delays or failures due to any
      cause beyond its control, howsoever arising, and not due to its own act or negligence and that
      cannot be overcome by the exercise of due diligence. Such causes shall include, but not be
      limited to, labor disturbances, riots, fires, earthquakes, floods, storms, lightning, epidemics,
      wars, hostilities, terrorist acts, civil disorder, expropriation or confiscation of property, failure or
      delay by carriers, interference by civil and military authorities whether by legal proceeding or in
      fact and whether purporting to act under some constitution, decree, law or otherwise, acts of God
      and perils of the sea.

 5.6 This Agreement shall be governed by and construed in accordance with the laws of the
     Commonwealth of Massachusetts, without regard to the conflict of laws provisions thereof.

 5.7 This Agreement will be binding on the parties' respective successors and assigns. Except as
     otherwise set forth in this Section 5.7, this Agreement may not be assigned by either party
     without the other's written consent.

      a.   The LENDER may, without TERI's consent, assign any Loan, together with the provisions
           hereof as applicable to such Loan, to another entity participating in the Program, or to an
           SPE formed by the LENDER, in each case upon written notice to TERI.

      b.   TERI specifically acknowledges that FMC or an SPE sponsored by FMC is expected to
           purchase some or all of the Loans, and this Agreement shall inure to the benefit of FMC or
           any such SPE upon such purchase. No notice of such purchase or consent to the assignment
           of the LENDER's rights under this Agreement in connection with a purchase of some or all
           of the Loans by FMC or any SPE sponsored by FMC shall be necessary.

      c.   In assigning any Loan and its rights under this Agreement relating to such Loan in
           accordance with Section 5.7(a), (i) the LENDER's written notice to TERI must be made
           within thirty (30) days after said assignment and must identify each Loan to which such
           assignment relates, and (ii) TERI will fully cooperate with any Securitization Transaction or
           other sale of a portfolio of Loans, provided it is given thirty (30) days advance written
           notice of the date that information or documents are required of it and provided that its
           reasonable legal fees and other expenses incurred in connection with such transaction are
           reimbursed by the seller of such Loans.

      d.   Except for any assignment hereunder to FMC or any SPE sponsored by FMC in connection
           with a purchase of Loans as described in subsection b. above, no assignment of Loans or
           the LENDER's rights hereunder without TERI's express written consent shall release the
           LENDER from any liability to TERI under this Agreement arising out of the LENDER's
           ownership of such Loans (whether arising prior to, as a result of or after the sale of such
           Loans by the LENDER) including, without limitation, the LENDER's obligation to pay any
           unpaid Guaranty Fees and to repurchase Loans pursuant to Section 3.4.

      e.   The Lender acknowledges that TERI has outsourced or subcontracted some or all of its
           administrative functions, including but not limited to the processing of guarantee claims, to
           First Marblehead Education Resources, Inc. In addition, the Lender acknowledges that
           TERI has subcontracted and may hereafter subcontract any administrative obligations

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              necessary or convenient to TERI to perform its obligations hereunder, and that such
              subcontracts do not and shall not require the consent of the LENDER. Such outsourcing or
              subcontracting shall not relieve TERI of its obligations under this Agreement.

 5.8 Notice for any purpose hereunder may be given by any means requiring receipt signature, or by
     facsimile transmission confirmed by first class mail. In the case of TERI, notices should be sent
     to its President, and if by fax, to (781) 849-8433. In the case of the LENDER, notices should be
     sent to its President, with a copy to its General Counsel, and if by fax, to 215-682-1770. Either
     party may from time to time change the person, address or fax number for notice purposes by
     formal notice to the other party.


 Section 6:      CHANGES TO PROGRAM GUIDELINES

 The parties agree that the Program Guidelines will need to be updated and modified from time to time
 to respond to changed conditions. The parties intend to make such modifications in a manner that
 does not interfere with the ordinary advertising and origination cycle for education loans.
 Amendments necessary to meet state or federal regulatory requirements may be made at any time.
 With respect to all other changes, the parties shall exchange requests for modification of the Program
 Guidelines, including without limitation any requested changes to the provisions of the Program
 Guidelines concerning the Guaranty Fees, in the first part of the first calendar quarter of each year.
 Each party shall respond in writing to proposals from the other within thirty (30) days, and both
 parties will attempt to resolve any differences within thirty (30) days after receiving a response to a
 request. All modifications must be mutually acceptable. Any modifications approved by the parties
 and not requiring system adjustments by the LENDER's loan servicer shall take effect within thirty
 (30) days after approval. Modifications requiring system adjustments by the LENDER's loan servicer
 shall take effect as soon after approval as such servicer shall be able to adjust its systems to accept
 loans made on the modified terms, and the LENDER agrees to take such actions as are reasonably
 necessary to ensure that such servicer adjusts its systems as promptly as practicable. The parties shall
 use their best efforts to conclude all negotiations of proposed changes prior to May 1 of each year.
 The foregoing process shall not apply to modification of the Servicing Guidelines, which are subject
 to the modification process contained therein.

 Section 7:     TERM AND TERMINATION

 7.1 The initial term of this Agreement shall commence on the date first set forth above, and shall
     continue until [**]. Thereafter, this Agreement may be renewed by mutual agreement of the
     parties not less than [**] days prior to the end of the then-current term.

 7.2 In the event that the parties are unable to agree on a proposed modification to the Program
     Guidelines as provided in Section 6, above, the party proposing the modification shall have the
     option of terminating this Agreement effective immediately upon written notice of termination to
     the other party, provided that the party desiring to exercise this option to terminate does so
     within [**] of the end of the [**] day period provided in Section 6 for the resolution of any
     differences. In the event of termination under this Section 7.2 and for no other reason, neither
     party shall be subject to any termination fees or penalties.

 7.3 To the extent permitted by applicable law, if either party should become subject to bankruptcy,
     receivership, or other proceedings affecting the rights of its creditors generally, the party
     becoming subject to such proceedings will promptly notify the other party thereof, and this
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      Agreement will be deemed terminated immediately upon the initiation of such proceedings
      without the need of notice to the other party.

 7.4 Termination shall be prospective only and shall not affect the obligations of the parties hereto
     which were incurred prior to such termination or any of the warranties and indemnities contained
     herein or the provisions of Section 8 below (regarding confidentiality). Not less than [**] days
     prior to the effective date of termination, TERI may, by additional notice to the Lender,
     terminate its obligation to assume the guaranty of all or any subset of otherwise qualifying Loans
     for which applications were received after the date of Lender's receipt of such additional notice.
     In the absence of such additional notice TERI will, subject to the terms and conditions of this
     Agreement, assume the guaranty of all Loans as to which a commitment to lend is made prior to
     the effective date of termination. In the event this Agreement terminates or expires and only one
     disbursement of a multi-disbursement loan has been made prior to that date, the other
     disbursement will also be guaranteed pursuant to the terms of this Agreement.

 7.5 Notwithstanding the foregoing, if the Lender is determined to be a "troubled" institution, as
     defined in 12 CFR, Section 563.555, the Office of Thrift Supervision may terminate this
     Agreement upon reasonable notice and without penalty.


 Section 8:      CONFIDENTIALITY; RESTRICTIONS ON USE OF INFORMATION

 8.1 During the course of negotiating this Agreement and hereafter during the pendency of this
     Agreement, the parties from time to time may have revealed or may hereafter reveal to each
     other certain information concerning their respective business plans, business methods, financial
     data and projections, and/or information that is not generally known in the student loan industry,
     including, without limitation, the terms and conditions of this Agreement. All the foregoing is
     referred to herein as "Confidential Information." In TERI's case, its Confidential Information
     also includes, but is not limited to, information concerning the operation of its telephone and on-
     line loan applications procedures, and its online credit scoring system. Each party will use
     reasonable efforts to preserve the confidentiality of Confidential Information contained herein or
     disclosed to it by the other party, such efforts to be not less vigilant than those that such party
     uses to protect its own proprietary information. The foregoing is subject to the following
     qualifications:

      a.      No party will be so bound with respect to information that is or becomes public knowledge
              in the student loan industry (but if it does so through any fault of such party that fault will
              be considered a material breach of this Agreement);

      b.      No party will be so bound with respect to information that is now or hereafter comes into its
              possession by its own documented independent efforts or from a third party who, so far as
              the recipient party has reason to believe, is under no comparable restriction with respect to
              such information;

      c.      Either party may disclose Confidential Information to its attorneys, auditors, agents, and
              consultants who are bound to maintain the confidentiality of such information;

      d.      Either party may disclose Confidential Information in the context of any regulatory review
              of its operations or as compelled by law, regulation, or court order, provided that in the

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           context of a court order the party required to disclose will (i) give the other party prompt
           written notice upon learning of the requirement so that the other party may take appropriate
           action to prevent or limit the disclosure, (ii) consult with the other party and use all
           reasonable efforts to agree on the nature, form, timing and content of the disclosure, (iii)
           except as otherwise agreed under (ii), disclose no more than its counsel advises is legally
           required, and (iv) inform the Court and all counsel concerned that such information is and
           should be treated as confidential information of the other party; and

      e.   Information concerning Loans and Borrowers that comes into TERI's possession shall not
           be considered Confidential Information of the Lender.

      f.   Without limiting the foregoing, TERI may disclose any of the LENDER's Confidential
           Information to any entity to which TERI subcontracts its obligations under this Agreement
           pursuant to Section 5.7(e) hereof.

 8.2 In accordance with the provisions of Title V of the Gramm-Leach-Bliley Act (the "GLB Act")
     and Federal Reserve Board Regulation P ("Regulation P"), TERI agrees, as a financial institution
     subject to Regulation P, to respect and protect the security and confidentiality of any "nonpublic
     personal information" (as defined in the GLB Act and Regulation P) relating to applicants for
     Loans and to Borrowers, including, where applicable, the restrictions on the re-use and
     disclosure of such information set forth in the GLB Act and Regulation P.

 8.3 Without limiting the foregoing, TERI may retain as its own property and use for any lawful
     purpose any or all aggregated or de-identified data concerning Loan applicants and Borrowers,
     which does not include the name, address or social security number of the Loan applicants or
     Borrowers. TERI may sell, assign, transfer or disclose such information to third parties
     including, without limitation, FMC, who may also use such information for any lawful purpose.


       IN WITNESS WHEREOF, TERI and the LENDER have caused this Agreement to be executed
 by their duly authorized officers under seal as of the day and year indicated above.

 THE EDUCATION RESOURCES                            GMAC Bank
 INSTITUTE, INC.

 By: /s/ Lawrence W. O'Toole                        By: /s/ Michael P. DiComo
 Print Name: Lawrence W. O'Toole                    Print Name: Michael P. DiComo
 Title: President                                   Title: Senior Vice President


                                        TABLE OF EXHIBITS

 Exhibit A – Program Guidelines for GMAC Bank Student Loan Program

 Exhibit B – Servicer Data Requirements

 Schedule 3.3 – Guaranty Fee Amounts

             Exhibit A – Program Guidelines for GMAC Bank Student Loan Program

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                                              [**]

                                          EXHIBIT B
                                  Servicer Data Requirements

                                              [**]

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   SCHEDULE 3.3 TO GUARANTY AGREEMENT BETWEEN TERI AND GMAC BANK

                                              [**]




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DATE 07/20/18 16:59:54           LOAN FINANCIAL ACTIVITY             PAGE    1 OF 10


BORROWER SSN: ***-**-8657 NAME: GOMEZ, MARIE J
1ST DISB: 08/02/05 LN SEQ: 0001 LN PGM: ALPLN      OWN: 122962PM-NCT
GUARANTOR: TERI                  CUST ACCT: LT09 ORIG BAL: 29,591.40
BOND ISSUE: NCT20062   PD AHEAD:    STATUS: ACTIVE     CURR BAL:     0.00


     REV    EFFECTIVE    POSTED      TRAN        TRAN        INTEREST        PRINCIPAL
     REA      DATE        DATE       TYPE       AMOUNT        ACCRUED         BALANCE
 1          01/04/12    01/04/12    5003A        15.00CR         0.00            0.00
 2          01/03/12    01/03/12    1030A    32,336.31CR        65.26            0.00
 3          12/18/11                2601A         5.00         122.24       31,646.18
 4          11/18/11                2601A         5.00         126.32       31,646.18
 5          10/18/11                2601A         5.00          73.35       31,646.18
 6          09/30/11    10/04/11    1010C        20.00CR         4.08       31,646.18
 7          09/29/11    09/30/11    1010C       261.00CR        44.92       31,646.18
 8          09/18/11                2601A         5.00         126.59       31,646.18
 9          08/18/11                2601A         5.00         126.59       31,646.18
10          07/18/11                2601A         5.00          49.00       31,646.18


      SELECTION __


F1=HELP    F3=EXIT   F5=RFR   F7=BKWD   F8=FWD   F9=PRT   F12=CAN




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  ITS2C*****8657;;                        AES/PA            VTAM NAEN          TSX2D
DATE 07/20/18 16:59:58           LOAN FINANCIAL ACTIVITY             PAGE    2 OF 10


BORROWER SSN: ***-**-8657 NAME: GOMEZ, MARIE J
1ST DISB: 08/02/05 LN SEQ: 0001 LN PGM: ALPLN      OWN: 122962PM-NCT
GUARANTOR: TERI                  CUST ACCT: LT09 ORIG BAL: 29,591.40
BOND ISSUE: NCT20062   PD AHEAD:    STATUS: ACTIVE     CURR BAL:     0.00


     REV    EFFECTIVE    POSTED      TRAN        TRAN        INTEREST        PRINCIPAL
     REA      DATE        DATE       TYPE       AMOUNT        ACCRUED         BALANCE
 1          07/06/11    07/06/11    1010C       350.00CR        74.06       31,646.18
 2          06/18/11                2601A         5.00         127.93       31,646.18
 3          05/18/11                2601A         5.00         123.81       31,646.18
 4          04/18/11                2601A         5.00         226.98       31,646.18
 5          02/22/11    02/22/11    1010C     1,415.90CR        16.81       31,646.18
 6          02/18/11                2601A         5.00         130.35       32,243.52
 7          01/18/11                2601A         5.00         130.84       32,243.52
 8          12/18/10                2601A         5.00          76.32       32,243.52
 9          11/30/10    11/30/10    1010C        60.00CR        50.88       32,243.52
10          11/18/10                2601A         5.00         131.44       32,243.52


      SELECTION __


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BORROWER SSN: ***-**-8657 NAME: GOMEZ, MARIE J
1ST DISB: 08/02/05 LN SEQ: 0001 LN PGM: ALPLN      OWN: 122962PM-NCT
GUARANTOR: TERI                  CUST ACCT: LT09 ORIG BAL: 29,591.40
BOND ISSUE: NCT20062   PD AHEAD:    STATUS: ACTIVE     CURR BAL:     0.00


     REV    EFFECTIVE    POSTED      TRAN         TRAN       INTEREST        PRINCIPAL
     REA      DATE        DATE       TYPE        AMOUNT       ACCRUED         BALANCE
 1          10/18/10                2601A          5.00         12.72       32,243.52
 2          10/15/10    10/15/10    1010C        300.00CR      114.37       32,243.52
 3          09/18/10                2601A          5.00        258.11       32,243.52
 4          07/19/10    07/19/10    1010C         25.00CR      134.66       32,243.52
 5          06/17/10    06/17/10    1010C         25.00CR      142.06       32,243.52
 6          05/14/10    05/14/10    1010C         72.97CR       54.35       32,243.52
 7          05/01/10    05/01/10    7001A          0.00          8.35       32,262.14
 8          04/29/10    04/30/10    1010C        200.00CR      175.80       32,253.79
 9          03/18/10    03/19/10    1010C        300.00CR       71.76       32,277.99
10          03/01/10    03/01/10    1010C        250.00CR       46.53       32,506.23


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BORROWER SSN: ***-**-8657 NAME: GOMEZ, MARIE J
1ST DISB: 08/02/05 LN SEQ: 0001 LN PGM: ALPLN      OWN: 122962PM-NCT
GUARANTOR: TERI                  CUST ACCT: LT09 ORIG BAL: 29,591.40
BOND ISSUE: NCT20062   PD AHEAD:    STATUS: ACTIVE     CURR BAL:     0.00


     REV    EFFECTIVE    POSTED      TRAN         TRAN       INTEREST        PRINCIPAL
     REA      DATE        DATE       TYPE        AMOUNT       ACCRUED         BALANCE
 1          02/18/10                2601A          5.00        126.91       32,577.79
 2          01/19/10    01/19/10    1010C        250.00CR      166.17       32,577.79
 3          12/11/09    12/11/09    1010C        143.78CR       47.18       32,661.62
 4          11/30/09    11/30/09    1010C        300.00CR        0.00       32,758.22
 5          11/30/09    11/30/09    1010C        150.00CR       51.98       33,058.22
 6          11/18/09                2601A          5.00         69.31       33,081.93
 7          11/02/09    11/02/09    1010C        250.00CR       65.05       33,081.93
 8          10/18/09                2601A          5.00        145.00       33,116.88
 9          09/15/09    09/15/09    1010C        250.00CR       80.45       33,116.88
10          08/28/09    08/31/09    1010C        210.00CR       44.69       33,227.69


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BORROWER SSN: ***-**-8657 NAME: GOMEZ, MARIE J
1ST DISB: 08/02/05 LN SEQ: 0001 LN PGM: ALPLN      OWN: 122962PM-NCT
GUARANTOR: TERI                  CUST ACCT: LT09 ORIG BAL: 29,591.40
BOND ISSUE: NCT20062   PD AHEAD:    STATUS: ACTIVE     CURR BAL:     0.00


     REV    EFFECTIVE    POSTED      TRAN         TRAN       INTEREST        PRINCIPAL
     REA      DATE        DATE       TYPE        AMOUNT       ACCRUED         BALANCE
 1          08/18/09                2601A          5.00        219.05       33,227.69
 2          06/30/09    06/30/09    1010C        396.73CR       54.41       33,227.69
 3          06/18/09                2601A          5.00         90.69       33,437.09
 4          05/29/09    06/01/09    1010C        200.00CR       49.88       33,437.09
 5          05/18/09                2601A          5.00         95.22       33,437.09
 6          04/27/09    04/27/09    1010C        225.00CR       40.81       33,437.09
 7          04/18/09                2601A          5.00        137.27       33,437.09
 8          03/23/09    03/25/09    1010C        215.00CR       33.43       33,437.09
 9          03/18/09                2601A          5.00        147.12       33,437.09
10          02/24/09    02/24/09    1010C        200.00CR       40.12       33,437.09


      SELECTION __


F1=HELP    F3=EXIT   F5=RFR   F7=BKWD   F8=FWD   F9=PRT   F12=CAN




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     Case 18-01042-j    Doc 35     Filed 08/26/19 Entered 08/26/19 18:53:44 Page 58 of 65
  ITS2C*****8657;;                        AES/PA            VTAM NAEN          TSX2D
DATE 07/20/18 17:00:01           LOAN FINANCIAL ACTIVITY             PAGE    6 OF 10


BORROWER SSN: ***-**-8657 NAME: GOMEZ, MARIE J
1ST DISB: 08/02/05 LN SEQ: 0001 LN PGM: ALPLN      OWN: 122962PM-NCT
GUARANTOR: TERI                  CUST ACCT: LT09 ORIG BAL: 29,591.40
BOND ISSUE: NCT20062   PD AHEAD:    STATUS: ACTIVE     CURR BAL:     0.00


     REV    EFFECTIVE    POSTED      TRAN         TRAN       INTEREST        PRINCIPAL
     REA      DATE        DATE       TYPE        AMOUNT       ACCRUED         BALANCE
 1          02/18/09                2601A          5.00        127.06       33,437.09
 2          01/30/09    01/30/09    1010C        210.00CR       80.24       33,437.09
 3          01/18/09                2601A          5.00        311.08       33,437.09
 4          12/01/08    12/01/08    7001A          0.00        760.14       33,437.09
 5          07/28/08    07/28/08    1010C        150.00CR      171.83       31,262.56
 6          06/30/08    06/30/08    1010C        257.54CR      117.90       31,262.56
 7          06/13/08                2601A          5.00        215.01       31,262.56
 8          05/13/08    05/13/08    1010C        355.04CR      187.26       31,262.56
 9          04/16/08    04/17/08    1010C        150.00CR       20.80       31,262.56
10          04/13/08                2601A          5.00        148.28       31,262.56


      SELECTION __


F1=HELP    F3=EXIT   F5=RFR   F7=BKWD   F8=FWD   F9=PRT   F12=CAN




                                      Exhibit 1 - Page 47 of 53
     Case 18-01042-j    Doc 35     Filed 08/26/19 Entered 08/26/19 18:53:44 Page 59 of 65
  ITS2C*****8657;;                        AES/PA            VTAM NAEN          TSX2D
DATE 07/20/18 17:00:02           LOAN FINANCIAL ACTIVITY             PAGE    7 OF 10


BORROWER SSN: ***-**-8657 NAME: GOMEZ, MARIE J
1ST DISB: 08/02/05 LN SEQ: 0001 LN PGM: ALPLN      OWN: 122962PM-NCT
GUARANTOR: TERI                  CUST ACCT: LT09 ORIG BAL: 29,591.40
BOND ISSUE: NCT20062   PD AHEAD:    STATUS: ACTIVE     CURR BAL:     0.00


     REV    EFFECTIVE    POSTED      TRAN         TRAN       INTEREST        PRINCIPAL
     REA      DATE        DATE       TYPE        AMOUNT       ACCRUED         BALANCE
 1          03/24/08    03/24/08    1010C        160.00CR       73.18       31,262.56
 2          03/15/08                2601A          5.00        187.02       31,262.56
 3          02/21/08    02/21/08    1010C        153.16CR       65.05       31,262.56
 4          02/13/08                2601A          5.00        227.68       31,262.56
 5          01/16/08    01/16/08    1010C        153.16CR       24.39       31,262.56
 6          01/13/08                2601A          5.00        225.67       31,262.56
 7          12/17/07    12/18/07    1010C        153.16CR       25.61       31,262.56
 8          12/14/07                2601A          5.00        153.70       31,262.56
 9          11/26/07    11/26/07    1010C        153.16CR      111.01       31,262.56
10          11/13/07                2601A          5.00        247.64       31,262.56


      SELECTION __


F1=HELP    F3=EXIT   F5=RFR   F7=BKWD   F8=FWD   F9=PRT   F12=CAN




                                      Exhibit 1 - Page 48 of 53
     Case 18-01042-j    Doc 35     Filed 08/26/19 Entered 08/26/19 18:53:44 Page 60 of 65
  ITS2C*****8657;;                        AES/PA            VTAM NAEN          TSX2D
DATE 07/20/18 17:00:02           LOAN FINANCIAL ACTIVITY             PAGE    8 OF 10


BORROWER SSN: ***-**-8657 NAME: GOMEZ, MARIE J
1ST DISB: 08/02/05 LN SEQ: 0001 LN PGM: ALPLN      OWN: 122962PM-NCT
GUARANTOR: TERI                  CUST ACCT: LT09 ORIG BAL: 29,591.40
BOND ISSUE: NCT20062   PD AHEAD:    STATUS: ACTIVE     CURR BAL:     0.00


     REV    EFFECTIVE    POSTED      TRAN         TRAN       INTEREST        PRINCIPAL
     REA      DATE        DATE       TYPE        AMOUNT       ACCRUED         BALANCE
 1          10/15/07    10/15/07    1010C        153.16CR        8.53       31,262.56
 2          10/14/07                2601A          5.00        405.39       31,262.56
 3          08/27/07    08/27/07    1010C        153.16CR      201.86       31,262.56
 4          08/03/07    08/03/07    1010C        152.32CR      294.38       31,262.56
 5          06/29/07    06/29/07    1010C        154.00CR       33.64       31,262.56
 6          06/25/07    06/25/07    1010C        148.16CR      100.93       31,262.56
 7          06/13/07                2601A          5.00        176.62       31,262.56
 8          05/23/07    05/24/07    1010C        158.16CR       75.69       31,262.56
 9          05/14/07                2601A          5.00        260.73       31,262.56
10          04/13/07    04/13/07    1010C        153.16CR      361.93       31,262.56


      SELECTION __


F1=HELP    F3=EXIT   F5=RFR   F7=BKWD   F8=FWD   F9=PRT   F12=CAN




                                      Exhibit 1 - Page 49 of 53
     Case 18-01042-j    Doc 35     Filed 08/26/19 Entered 08/26/19 18:53:44 Page 61 of 65
  ITS2C*****8657;;                        AES/PA            VTAM NAEN          TSX2D
DATE 07/20/18 17:00:03           LOAN FINANCIAL ACTIVITY             PAGE    9 OF 10


BORROWER SSN: ***-**-8657 NAME: GOMEZ, MARIE J
1ST DISB: 08/02/05 LN SEQ: 0001 LN PGM: ALPLN      OWN: 122962PM-NCT
GUARANTOR: TERI                  CUST ACCT: LT09 ORIG BAL: 29,591.40
BOND ISSUE: NCT20062   PD AHEAD:    STATUS: ACTIVE     CURR BAL:     0.00


     REV    EFFECTIVE    POSTED      TRAN        TRAN        INTEREST        PRINCIPAL
     REA      DATE        DATE       TYPE       AMOUNT        ACCRUED         BALANCE
 1          03/01/07    03/01/07    7001A         0.00         108.28       31,262.56
 2          02/16/07    02/16/07    1010C       300.00CR        24.98       30,928.78
 3          02/13/07                2601A         5.00         183.25       30,928.78
 4          01/22/07    01/22/07    1010C       250.00CR        49.97       30,928.78
 5          01/16/07    01/17/07    1010C        60.00CR        24.98       30,928.78
 6          01/13/07                2601A         5.00         542.32       30,928.78
 7          11/09/06    11/13/06    7001A         0.00       1,175.69       30,928.78
 8          06/08/06    06/08/06    0390A    29,753.09           0.00       29,293.71
 9          06/08/06    06/08/06    0395A    29,753.09CR       405.84            0.00
10          04/13/06    04/14/06    1010C       240.00CR       293.54       29,293.71


      SELECTION __


F1=HELP    F3=EXIT   F5=RFR   F7=BKWD   F8=FWD   F9=PRT   F12=CAN




                                      Exhibit 1 - Page 50 of 53
     Case 18-01042-j    Doc 35     Filed 08/26/19 Entered 08/26/19 18:53:44 Page 62 of 65
  ITS2C*****8657;;                        AES/PA            VTAM NAEN        TSX2D
DATE 07/20/18 17:00:03           LOAN FINANCIAL ACTIVITY             PAGE 10 OF 10


BORROWER SSN: ***-**-8657 NAME: GOMEZ, MARIE J
1ST DISB: 08/02/05 LN SEQ: 0001 LN PGM: ALPLN      OWN: 122962PM-NCT
GUARANTOR: TERI                  CUST ACCT: LT09 ORIG BAL: 29,591.40
BOND ISSUE: NCT20062   PD AHEAD:    STATUS: ACTIVE     CURR BAL:     0.00


     REV    EFFECTIVE    POSTED      TRAN        TRAN        INTEREST      PRINCIPAL
     REA      DATE        DATE       TYPE       AMOUNT        ACCRUED       BALANCE
 1          03/02/06    03/02/06    1010C       240.00CR       138.19     29,293.71
 2          02/10/06    02/10/06    1010C       238.93CR       207.33     29,395.52
 3          01/11/06    01/12/06    1010C       236.79CR       262.91     29,401.00
 4          12/02/05    12/02/05    1010C       240.00CR       194.10     29,401.00
 5          11/02/05    11/02/05    1010C       240.00CR       194.40     29,446.90
 6          10/03/05    10/04/05    1010C       238.93CR       189.72     29,492.50
 7          09/02/05    09/02/05    1010C       238.93CR       189.24     29,541.71
 8          08/02/05    08/02/05    0101A    29,591.40           0.00     29,591.40
 9
10


      SELECTION __


F1=HELP    F3=EXIT   F5=RFR   F7=BKWD   F8=FWD   F9=PRT   F12=CAN




                                      Exhibit 1 - Page 51 of 53
     Case 18-01042-j    Doc 35     Filed 08/26/19 Entered 08/26/19 18:53:44 Page 63 of 65
  ITS2X*****8657;                    AES/PA          VTAM NAEN             TSX2Y
DATE 07/20/18 17:00:12 REPAYMENT SCHEDULE SUMMARY SELECTION    PAGE      1 OF 1


BORROWER SSN ***-**-8657       NAME MARIE J GOMEZ


         SCHED   INSTALL REPAY REPAY 1ST DUE 1ST DISB        LOAN
SEL   STA TYPE   AMOUNT    LVLS   TERM    DATE    DATE       PGM       OWNER
  1    I   L       260.86     2    169 08/02/11 08/02/05 ALPLN       NCT
  2    I   L       253.70     2    180 09/02/10 08/02/05 ALPLN       NCT
  3    I   RP       25.00     3    183 06/02/10 08/02/05 ALPLN       NCT
  4    I   L       247.97     2    188 01/02/10 08/02/05 ALPLN       NCT
  5    I   TG      298.06     3    199 02/02/09 08/02/05 ALPLN       NCT
  6    I   TG      197.93     3    200 01/02/09 08/02/05 ALPLN       NCT
  7    I   TG      252.77     4    210 02/28/08 08/02/05 ALPLN       NCT
  8    I   TG      153.16     4    222 03/28/07 08/02/05 ALPLN       NCT
  9    I   L       303.80     2    224 12/28/06 08/02/05 ALPLN       NCT
 10    I   L       238.93     1    240 09/02/05 08/02/05 ALPLN       NCT
  0    *********************************************************************
  0    *********************************************************************


 SELECTION    __



F1=HELP    F3=EXIT   F5=RFR   F7=BKWD   F8=FWD   F9=PRT   F12=CAN




                                    Exhibit 1 - Page 52 of 53
      Case 18-01042-j   Doc 35   Filed 08/26/19 Entered 08/26/19 18:53:44 Page 64 of 65
                              Exhibit 1 - Page 53 of 53
Case 18-01042-j   Doc 35   Filed 08/26/19 Entered 08/26/19 18:53:44 Page 65 of 65
